Gary M. Vilke, M.D., FACEP, FAAEM
11279 Breckenridge Way
San Diego, California 9213]
(858) 653-5292

July 30, 2008

Kell J. Oliver

Assistant Metropolitan Attorney
Department of Law

Metropolitan Courthouse, Suite 108
P. O. Box 196300

Nashville, TN 37219-6300

RE: Bud and Cindy Lundman, as next friend and as natural parents of Patrick Lee, deceased v.
Metropolitan Government, et al. U.S. District Court, Case No. 3:06-108

Dear Ms. Oliver:

As per your request, I have reviewed the following materials from the above referenced case. This
includes, but is not limited to:

Amended Compiaint

Supplemental Disclosures
Deposition of Dana Binkley
Deposition of Earl Eugene Lee
Deposition of Ernest Burwell
Deposition of Clement Bernard, M.D,
Report of Dr. Clement Bernard
Deposition of Chark Kinsolving
Deposition of Christopher Lee
Deposition of Candace Coffee
Deposition of Jeffery Crawford
Deposition of Dr, Thomas Bennett
Deposition of Dr. Oscar Guillamondegui
Deposition of Jeffery Guy, M.D.
Deposition of Timothy Flowers
Deposition of Laura FHitchcox
Deposition of Bruce Levy, M.D.
Deposition of Cindy Lundman
Deposition of Patsy Sermersheim
Deposition of Roger Clark
Deposition of Rex Tracy Fitzgerald
Deposition of Felicia Zhuang
Deposition of Paul Uselton

Taser Bulletin

Video of incident

Case 3:06-cv-00108 Document 348-1 Filed 11/30/08 Page 1 of 76 PagelD #: 10862

 
eal

Statement of James Galinelli

Statement and Deposition of Officer Brooks
Statement and Deposition of Officer Cregan
Statement and Deposition of Officer Fisher
Statement and Deposition of Officer Mallery
Statement and Deposition of Officer Mays
Statement and Deposition of Sergeant Pinklcton
Statement and Deposition of Officer Scott
Statement and Deposition of Officer Scruggs
Statement and Deposition of Officer Smith
Statement and Deposition of Officer Wright
Report of Ronald Shaw, M.D.

Deposition of Ronald Shaw, M.D.

Report of George Nichols, M.D.

Deposition of George Nichols, M.D,
Autopsy report of Patrick Lee

Afler reviewing the above listed materials, it appears that on September 22, 2005, Patrick Lee was
encountered by police, was exposed to OC spray, several baton strikes and multiple Taser
activations and subsequently suffered a cardiac arrest. He was treated by paramedics, resuscitated,
transported to the hospital, but ultimately was determined to have brain death, thus life support was
discontinued and he died on September 24, 2005, Given this history, there are a number of issues
that need to be addressed in more detail, All of the opinions given are with a reasonable degree of
medical certainty based on the information currently available.

Taser There is a great deal of unwarranted concern of electrocution by people based on the
reported “50,000 volts” used by the Taser device. However, it is not the voltage, but the current or
amperage that actually creates the risk for electrical injury. For example, the static electricity from
walking across a carpet can generate 10,000 to 25,000 volts of energy, not much less than the Taser,
However, the current of the Taser is only 2.1 milliamps. By way of comparison, a Christmas tree
light string will have on average a current of 0.4 amps or 400 milliamps, which equals 200 times the
current produced by the Taser, The energy transmitted by the Taser is 0.36 Joules/pulse, with the
comparison of a defibrillator used by paramedics using 360 Joules — over 1000 times greater. If one
thinks about it, this limited amount of energy able to be transferred makes sense as the Taser is only
powered by either NiCad batteries or high output alkaline (household) batteries, not an electrical
outlet or power generator. It is the Taser’s rapid cycling that gets the subject’s muscles to contract
at about 19 times a second that offers the effective incapacitation of the subject in probe mode, or
painful compliance in drive stun mode, while still offering safety from electrical injury.

Once the cnergy is turned off, the subject is back to his physical baseline, There are no delayed
effects or delayed causes of sudden death by the Taser. Mr. Lee was clearly alive afler the Taser
activations during the struggle and cuffing, as he was still verbalizing and struggling. With the data
from the Taser downloads, there appear to be a total of 19 activations between the two Tasers used
in this case. However, as Mr. Lee was struggling and had pulled the wires, it is not clear that he
actually reccived incapacitating current from this many activations. Based on the reports, it appears
that the number of effective activations was much lower. Moreover, it appears that several
activations were in drive stun mode, which would not have caused incapacitation, only localized
pain. However, even ifall 19 activations were effective and caused the associated muscle tetany,
he would have only had a combined total of 96 seconds of activity, which were interspersed with
breaks. Though muscle activity from the Taser has been shown to increase lactic acid levels and

Case 3:06-cv-00108 Document 348-1 Filed 11/30/08 Page 2 of 76 PagelD #: 10863

 
CPK levels, much like a basic seizure, the activity ofa struggle will increase these levels to a much
greater level. Additionally, sympathomimetic drugs, like LSD, in and of themselves can certainly
cause elevations in these levels and have been associated with severe acidosis and sudden death in
cases in which there was not a Taser used. The acidosis that can be caused by a Taser should be
likened to a typical seizure in that there will be some laboratory changes because of the muscle
contractions, but not to a level to cause death given the number and durations noted in the case of
Mr. Lee. Additionally, there are data that clearly demonstrate that ventilatory function of the
muscles of respiration ts not impeded by the use ofthe Taser. In my opinion, the Taser had no
component to the death of Mr. Lce.

Use of the passive restraint: There are no studies, clinical findings in this case or previous case
reports that support that any variation of restraining a handcuffed individual with hands behind his
back and shackling his legs will impede his ability to ventilate, causing “positional asphyxia.”
Leaving the patient on the ground on his stomach is physiologically neutral. The patient was
breathing and could move side to side if desired and not having the ventilatory movement of his
lungs impeded, This patient did not suffer from positional asphyxia nor did the restraint have any
contributing component to Mr. Lee’s demise,

Weight force on the back during restraint: During the period that Mr. Lee was being handcuffed,
he was restrained in a prone position with a certain amount of weight force was being placed on his
back intermittently to maintain him ina safe position, Mr, Lee was making noises, responding to
officer’s questions, and struggling and screaming without any evidence of respiratory or ventilatory
difficulty during this time period. He was reported to be moving and resisting during this period
and was not noted to complain of shortness of breath or difficulty breathing.

Given that Mr. Lee was clearly alive and fighting during the relatively short period of restraint and
intermittent minimal weight force, and that the cardiac arrest was sudden, as well as there were no
findings or changes consistent with asphyxiation on autopsy, the weight force on the back did not
cause Mr. Lee’ death.

OC spray exposure: Although Mr. Lee was exposed to OC spray, there are no findings that this
exposure was a contributing factor in the death. Shortness of breath associated with allergic
reactions or reactive airway exaccrbations have been reported with OC spray, similar to an allergic
reaction a person would have to a cat or serious pollen allergy. When these types of reactions occur
with OC spray, they occur almost immediately afler exposure and have physical findings of
wheezing and bronchospasm.

Acute anaphylactic reactions typically occur rapidly at the time of the exposure and are obvious.
This was not the case with Mr, Lec. Autopsy findings also support that there no changes consistent
with an allergic reaction or bronchospasm as a cause of death. Mr. Lee was in an open environment
so that the concentration of the OC was quickly diffused. The OC exposure was non-contributory to
Mr. Lee’s death,

Blunt force trauma: Autopsy findings demonstrate that Mr. Lee was subjected to blunt force
trauma to several regions of his body. Some injuries certainly could have even predated the
officers’ involvement as the subject was already causing bodily harm to himself, but nonetheless,
despite being unable to determine specifically the mechanism fiom which each of the individual
bruises and injuries were acquired, none of these blunt force injuries had a contributing effect to the
death of Mr. Lec.

Case 3:06-cv-00108 Document 348-1 Fijed 11/30/08 Page 3 of 76 PagelD #: 10864

 
Cause of death: So after reviewing what was non-contributory to the death of Mr. Lee, it is also
critical to identify why this young male suddenly died. During the time of his encounter, Mr. Lee
was exhibiting signs consistent with excited delirium. In his case, the excited delirium was caused
by his use of LSD, Excited delirium is a syndrome most commonly caused by use of stimulant
drugs like cocaine, methamphetamine or PCP and presents typically with aggressive and often
paranoid behavior as was the case for Mr. Lee. Classically, people suffering from excited delirium
are delusional, are hyperactive, sweaty, and may be violent and destructive, and are often breathing
fast.

Excited delirium places the individual at increased risk for sudden death syndrome, felt by most
experts to be caused by an irregular heartbeat, caused by the increased stress and work on the heart
by the excited, over-stimulated, agitated physical state. Once the heart goes into an irregular beat,
blood flow through the body ceases and shortly thereafler, the subject will lose consciousness due to
lack of blood flow to the brain and then stop breathing. Often, law enforcement officers will notice
that the subject has finally quicted down, no longer yelling and struggling, thinking that he has
finally calmed down and given up the fight. Then a short time later is when someone will identify
that the subject is suddenly in cardiac arrest. In this case the change in status was promptly noted
and appropriately addressed by the officers,

Sudden death from excited delirium has been documented to occur with subjects in restrained,
prone, supine and even sitting positions with or without other factor like OC spray or Taser use.
The position does not appear to be the causative factor for the cardiac arrest, but rather the excited
delirium state itself. Once a person goes into cardiac arrest from excited detirium, they are almost
impossible to successfully resuscitate.

Additionally, Mr. Lee had myocardial hypertrophy of his heart noted on his autopsy. This physical
enlargement of the heart in and of itself can place an individual at increased risk for sudden cardiac
arrest and death, Given the excited state of Mr. Lee, along with his enlarged heart, he was a ticking
time bomb at risk to go into cardiac arrest whether or not police were involved.

Therefore, I agree with the Medical Examiner’s report of the cause of death in this case. The
background presentation and autopsy findings support that Mr. Lee died from excited delirium
syndrome due to his LS) use.

My background is that I am a full time faculty member in the department of emergency medicine at
the University of California, San Diego Medical Center. I am residency trained and board certified
in Emergency Medicine. I work full time as a practicing clinician in the Emergency Department of
a busy urban hospital. I also work for the medical center as the Director of Custody Services for the
San Diego County Sheriff's Department Jail Medical Service where I oversce direct patient care,
interface between the jail clinical staff and the hospital staff} and have been involved in the process
of utilization review.

As a physician working at both the jail and in the emergency department that is contracted to care
for incarcerated patients, | have evaluated thousands of patients over the last ten years who have
been restrained, exposed to OC spray, reccived a Taser activation, and/or have had sudden cardiac
arrests. I have performed extensive research on subjects who have been restrained and restrained
with weight on their backs as well as work with OC spray and the Taser. This includes having
restrained subjects hundreds of times utilizing police restraining techniques, exposing dozens of
officers to OC spray and being involved with over 200 Taser activations. Given the frequency of
use of this procedure by law enforcement and my own research interests, I regularly perform a

Case 3:06-cv-00108 Document 348-1 Filed 11/30/08 Page 4-of 76 PagelD #: 10865

 
complete revicw of the literature regarding restraint use, OC spray, Taser and sudden death in
custody.

Appendix A, as requested, is list of all publications authored by me over the previous ten years.
Appendix B is a list of all cases in which I have testified as an expert in trial or deposition within
the preceding four years. I have not referred to any other specific sources. I have previously sent
you my current Curriculum Vitae and rate shect. The knowledge base that I utilize has been
developed over time from my years of clinical practice, reading and research.

Respectfully submitted,

WV»

Gary M. Vilke, M.D., FACEP, FAAEM
Professor of Clinical Medicine
Director, UCSD Custody Services

Director, Clinical Research for Emergency Medicine
University of California, San Diego Medical Center

Case 3:06-cv-00108 Document 348-1 Filed 11/30/08 Page 5 of 76 PagelD #: 10866

 
Appendix A

List of all publications authored over the last fen years

Original Peer-Reviewed Articles

Moss ST, Chan TC, Buchanan J, Dunford JV, Vilke GM: Outcome study of prehospital

patients signed out against medical advice by field paramedics. Ann Emerg Med 1998; 31(2):247-
250,

Chan TC, Vilke GM, Neuman T: Reexamination of custody restraint position and positional
asphyxia. Am J Forensic Med Patho! 1998;19(3):201-205.

Howard JD, Reay DT [32¢1):116-117] /Chan TC, Vilke GM, Neuman T, Clausen J: Positional
asphyxia (Reply to letter to the editor), Ann Emerg Med 1998; 32(1):117-118.

Vilke GM, Mahoney G, Chan TC: Postpartum coronary artery dissection. Ann Emerg Med
1998;32(2):260-262.

Rosa CM, Schwartz BL, Vilke GM: The prehospital electrocardiogram: Future standard
of care? Top Emerg Med 1998520(3):23-29,

Davis DP, Bramwell KJ, Vilke GM, Cardall TY, Yoshida E, Rosen P: Cricothyrotomy
technique: Standard versus the rapid four-step technique. J Emerg Med 1999; 17(1):17-21.

Davis DP, Stephen KAC, Vilke GM: Inaccuracy in endotracheal tube verification using a Toomey
syringe. J Emerg Med 1999;17(1):35-38.

Friedman L, Vilke GM, Chan TC, Hayden SR, Guss DA, Krishel SJ, Rosen P: Emergency
department airway management before and after an emergency medicine residency, J Emerg Med

1999:17(3):427-431.

Bramwell KJ, Davis DP, Cardall TY, Yoshida E, Vilke GM, Rosen P: Use of the Trousseau dilator
in cricothyrotomy, J Emerg Med 1999;17(3):433-436,

Cardall TY, Chan TC, Brady WJ, Perry JC, Vilkc GM, Rosen P: Permanent cardiac pacemakers:
Issues relevant to the emergency physician, Part 1. J Emerg Med 1999317(3):479-489,

Cardall TY, Brady WJ, Chan TC, Perry JC, Vilke GM, Rosen P: Permanent cardiac pacemakers:
Issues relevant to the emergency physician, Part I. J Emerg Med 1999;17(4):697-709.

Ville GM, Buchanan J, Dunford IV, Chan TC: Are heroin overdose deaths related to patient
release after prehospital treatment with naloxone? Prehosp Emerg Care 1999;3(3):183-186.

Roppolo LP, Vilke GM, Chan TC, Krishel 8, Hayden SR, Rosen P: Nasotracheal intubation in the
emergency department, revisited. J Emerg Med 1999;17(5):791-799.

Vilke GM: FOOSH injury with snuff box tenderness, J Emerg Med 1999;17(5):899-900.

Chan TC, Neuman T, Vilke GM, Clausen J, Clark RF; Metabolic acidosis in restraint-associated

Case 3:06-cv-00108 Document 348-1 Filed 11/30/08 Page 6 of 76 PagelD #: 10867

 
cardiac arrest (Letter to the editor). Acad Emerg Med 1999;6(10):1075-1076.

Chan TC, Vilke GM, Bramwell KJ, Davis DP, Hamilton RS, Rosen P: Comparison of wire-guided
cricothyrotomy versus standard surgical cricothyrotomy technique, J Emerg Med 1999;17(6):957-
962.

Reay DT, Howard JD [20(3):300-301] / Chan TC, Vilke GM, Neuman T: Restraint position and
positional asphyxia (Reply to lettcr to the editor). Am J Forensic Med Pathol 2000; 21(1):93.

Vilke GM, Chan TC, Guss DA: Use ofa complete neurological examination to screen for
significant intracranial abnormalitics in minor head injury. Am J Emerg Med 2000;18(2): 159-163,

Sloane CM, Vilke G: The other olive associated with vomiting. J Emerg Med 2000; 18(3):375.

Vilke GM, Chan TC, Neuman T, Clausen JL: Spirometry in normal subjects in sitting, prone, and
supine positions, Respir Care 2000;45(4):407-410,

Ma G, Vilke GM: Amocbie abscess. J Emerg Med 200031 8(4):465-466.

Davis DP, Bramwell KJ, Hamilton RS, Chan TC, Vilke GM: Safety and efficacy of the rapid four-
step technique for cricothyrotomy using a Bair Claw. J Emerg Med 2000;19(2):125-129,

Sloane C, Vilke GM, Chan TC, Hayden SR, Hoyt DB, Rosen P: Rapid sequence intubation in the
field versus hospital in trauma patients. J Emerg Med 2000;19(3):259-264,

Gerling MC, Davis DP, Hamilton RS, Morris GF, Vilke GM, Garfin SR, Hayden SR: Effects of
cervical spine immobilization technique and laryngoscope blade sclection on an unstable cervical
spine in a cadaver model of intubation. Ann Emerg Med 2000;36(4):293-300,

Ochs M, Vilke GM, Chan TC, Moats T, Buchanan J: Successful prehospital airway management
by EMT-Ds using the Combitube. Prchosp Emerg Care 2000; 4(4):333-337.

Vilke GM, Marino A, Iskander J, Chan TC: Emergency department patient knowledge of
medications. J Emerg Med 2000;19(4):327-330,

Chan TC, Vilke GM, Clausen J, Clark R, Schmidt P, Snowden T, Neuman T: The impact of
oleoresin capsicum spray on respiratory function in human subjects in the sitting and prone
maximal restraint positions, final report. NCJ 182433. Washington, DC: United States Department
of Justice, National Institute of Justice, 2000, 68 pages.

Gerling MC, Davis DP, Hamilton RS, Morris GF, Vilke GM, Garfin SR, Hayden SR:
Effect of surgical cricothyrotomy on the unstable cervical spine in a cadaver model of intubation. J
Emerg Med 2001;20(1):1-S.

Vilke GM, Chan TC: Physician effect on out of hospital patients signing out against medical
advice. Pre-hospital Immediate Care 2001;5(1):38-40.

Davis DP, Kimbro TA, Vilke GM: The use of midazolam for prehospital rapid-sequence intubation
may be associated with a dose-related increase in hypotension, Prehosp Emerg Care 2001;5(2):163-
168.

Case 3:06-cv-00108 Document 348-1 Filed 11/30/08 Page 7 of 76 PagelD #: 10868

 
Pate! RJ, Vilke GM, Chan TC: The prehospita! clectrocardiogram. J Emerg Med 2001,
21(1):35-39.

Davis DP, Videen JS, Marino A, Vilke GM, Dunford JV, Van Camp SP, Maharam LG: Exercise-
induced hyponatremia in marathon runners: A two-year experience. J Emerg Med 2001;21(1):47-
57.

Seltzer AG, Vilke GM, Chan TC, Fisher R, Dunford JV: Outcome study of minors after parental
refusal of paramedic transport. Prehosp Emerg Care 2001;5(3):278-283.

Vilke GM, Marino A, Fisher R, Chan TC: Estimation of pediatric patient weight by EMT-Ps, J
Emerg Med 2001;21(2}:125-128.

Chan TC, Vilke GM, Pollack M, Brady WJ: Electrocardiographic manifestations: Pulmonary
embolism, J Emerg Med 2001;21(3):263-270.,

Morgan J / Sloane C, Vilke GM: Rapid scquence intubation in the field versus hospital in trauma
patients (Reply to letter to the editor). J Emerg Med 2001 ;21(4):443-444,

Chan TC, Vilke GM, Clausen J, Clark R, Schmidt P, Snowden 'T, Neuman T: Pepper spray’s
effects on a suspect’s ability to breathe. Research in Brief (NCJ 188069), December 2001,
Washington, DC: United States Department of Justice, National Institute of Justice.

Vilke GM, Stcen PJ, Smith AM, Chan TC: Out-of-hospital pediatric intubation by paramedics: The
San Diego experience. J Emerg Med 2002;22(1):71-74. ,

Chan TC, Vilke GM, Clausen J, Clark RF, Schmidt P, Snowden T, Neuman T: The effect of
oleoresin capsicum “pepper” spray inhalation on respiratory function. J Forensic Sci 2002;

47(2):299-304,

Vilke GM, Sharieff GQ, Marino A, Gerhart AE, Chan TC: Midazolam for the treatment of out-of
hospital pediatric seizures. Prehosp Emerg Care 2002;6(2):215-217.

Vilke GM, Chan TC: Agitated delirium and sudden death (Letter to the editor), Prehosp Emerg
Care 20023;6(2):259-260.

Vilke GM, Fisher R, Chan TC: An evaluation of the risk for latex allergy in prehospital EMS
providers, J Emerg Med 2002;22(4):345-348.

Vilke GM: Food-dependent exercise-induced anaphylaxis. Prehosp Emerg Care 2002; 6(3):348-
350.

Vilke GM, Snyder B: High pressure paint spray gun injury. J Emerg Med 2002;23(2):
203-204.

Chew GS, Vilke GM, Davis DP, Chan TC: T oomey™ syringe aspiration may be inaccurate in
detecting esophageal intubation following gastric insufflation. J Emerg Med 2002;23(4): 337-340.

Vilke GM: Acromedical Emergencies: Intro to the section. J Emerg Med 2002;23(1):49.

Case 3:06-cv-00108 Document 348-1 Filed 11/30/08 Page 8 of 76 PagelD #: 10869

 
Vilke GM, Sardar W, Fisher R, Dunford JD, Chan TC: Follow-up of elderly paticnts who refuse
transport after accessing 9-I-1. Prchosp Emerg Care 2002; 6(4):391-395.

Vilke GM: Great toe pain. J Emerg Med 2003;24(1)}:59-60.
Davis JM, Vilke GM: An elderly patient with intussusception, J Emerg Med 2003 ;24(2):221,

Austin T, Vilke GM, Nyheim E, Kelly D, Chan TC: Safety and effectiveness of methohexital for
procedural sedation in the emergency department. J Emerg Med 2003; 24(3):3 15-18,

Chan TC, Vilke GM, Smith 8, Sparrow W, Dunford JV: Impact of an afler-hours on-call
emergency physician on ambulance transports from a county jail. Prehosp Emerg Care 2003;
7(3):327-33 1,

Vilke GM, Chan TC, Neuman T: Patient Restraint in EMS: Prchosp Emerg Care 2003; 7(3):417.

Deitch S, Davis DP, Schatteman J, Chan TC, Vilke GM: The use of etomidate for prehospital
rapid-sequence intubation. Prchosp Emerg Care 2003; 7(3):380-83,

Vilke GM, Sloane C, Smith AM, Chan TC: Assessment for deaths in out-ofthospital heroin
overdose patients treated with naloxone who refuse transport. Acad Emerg Med 2003; 10(8):893 -
896.

Davis DP, Valentine C, Ochs M, Vilke GM, Hoyt DB: The Combitube as a salvage airway device
for paramedic rapid sequence intubation. Ann Emerg Med 2003; 42(5):697-704.

Calkins T, Chan TC, Clark RF, Stepanski B, Vilke GM: Review of prehospital sodiu m bicarbonate
use for cyclic antidepressant overdose, Emerg Med J 2003; 20:483-486.

Vilke GM, Brown L, Skogland P, Simmons C, Guss DA: Approach to decreasing emergency
department ambulance diversion hours. J Emerg Med 2004; 26(2):189-92,

Vilke GM, Smith AM, Chan TC: Leaving against medical advice afler out-of-hospital naloxone: a
closer look is needed. Acad Emerg Med 2004, 11(3):323-324,

Vilke GM, Harrigan RA, Ufberg JW, Chan TC: Emergency evaluation and treatment of priapism,
J Emerg Med 2004; 26(3):325-329,

Davis DP, Wold RM, Pate! RJ, Tran AJ, Tokhi RN, Chan TC, Vilke GM: The clin ical presentation
and impact of diagnostic delays on emergency department patients with spinal epidural abscess. J

Emerg Med 2004; 26(3):285-291.

Vilke GM, Harrigan RA, Ufberg JW: Technical Tips: Intro to the section. J Emerg Med
2004;26(3):323,

Doney MK, Vilke GM: Large Osteosarcoma Not Apparent on Conventional Radiography. J
Emerg Med 2004;26(3):351-352.

Case 3:06-cv-00108 Document 348-1 Filgd 11/30/08 Page 9 of 76 PagelD #: 10870

 
Chan TC, Ufberg J, Harrigan RA, Vilke GM: Nasal foreign body removal. J Emerg Med 2004;
26(4):44 1-445.

Vilke GM, Smith AM, Upledger Ray L, Steen PJ, Murrin PA, Chan TC: Airway obstruction in
children aged less than 5 years: the prehospital experience. Prehosp Emerg Care 2004; 8(2):196-
199,

Vilke GM, Jin A, Davis DP, Chan TC: Prospective randomized study of viscous lidocaine versus
benzocaine in a GI cocktail for dyspepsia, J Emerg Med 2004; 27(1):7-9.

Poste JC, Davis DP, Ochs M, Vilke GM, Castillo EM, Stern J, Hoyt DB: Air medical transport of
severely head-injured paticnts undergoing paramedic rapid sequence intubation. Air Medical
Journal 2004; 23(4):36-40,

Chan TC, Neuman T, Clausen J, Eiscle J, Vilke GM: Weight foree during prone restraint and
respiratory function. Am J Forensic Med Pathol 2004; 25(3):185-189,

Ufberg JW, Vilke GM, Chan TC, Harrigan RA: Antcrior shoulder dislocations: Beyond traction-
countertraction. J Emerg Med 2004; 27(3}:301-306.

Vilke, GM. San Diego county wildfires: Perspective of county officials. Disaster Manag Response.
2004 Oct-Dec;2(4):99.

Vilke, GM, Castillo EM, Metz MA, Upledger Ray L, Murrin PA, Lev R, Chan TC: Community
trial to decrease ambulance diversion hours: the San Diego County patient destination trial. Ann
Emerg Med 2004; 44(4):295-303.

Vilke GM, Stepanski BM, Ray LU, Lutz MW, Murrin PA, Chan TC: 9-1-1 Responses for Shopping
Cart and Stroller Injuries. Pediatr Emerg Care 2004;20(10):660-663,

Vilke GM, Castillo EM, Ray LU, Murrin PA, Chan TC: Evaluation of pediatric glucose monitoring
and hypoglycemic therapy in the field. Pediatr Emerg Care 2005; Jan;21(1):1-5.

Vilke GM, Chan TC, Dunford JV, Metz M, Ochs G, Smith A, Fisher R, Poste JC, McCallum-
Brown L, Davis DP: The three-phase model of cardiac arrest as applied to ventricular fibrillation in
a large, urban emergency medical services system, Resuscitation 2005; 64(3):341-6.

Davis DP, Peay J, Sise MJ, Vilke GM, Kennedy F, Eastman AB, Velky T, Hoyt DB. The impact of
prehospital endotracheal intubation on outcome in moderate to severe traumatic brain injury. J
Trauma 2005; 58(5):933-939.

Davis DP, Grossman K, Kiggins DC, Vilke GM, Chan TC: The inadvertent administration of
anticoagulants to ED patients ultimately diagnosed with thoracic aortic dissection. Am J Emerg
Med 2005; 23(4):439-442,

Davis DP, Pettit K, Rom CD, Poste JC, Sise MJ, Hoyt DB, Vilke GM: The safety and efficacy of

prehospital needle and tube thoracostomy by aeromedical personnel. Prehosp Emerg Care 2005;
9(2):1 91-197,

Case 3:06-cv-00108 Document 348-1 Fil@@.11/30/08 Page 10 of 76 PagelD #: 10871

 
Davis DP, Peay J, Serrano JA, Buono C, Vilke GM, Sise MJ, Kennedy F, Eastman AB, Velky T,
Hoyt DB: The impact of aeromedical response to paticnts with moderate to severe traumatic brain
injury, Ann Emerg Med 2005; 46(2):115~-122.

Davis DP, Vadeboncoeur TF, Ochs M, Poste JC, Vilke GM, Hoyt DB: The association between
field glasgow coma scale score and outcome in paticnts undergoing paramedic rapid sequence
intubation. J Emerg Med 2005; 29(4):391-397,

Davis DP, Wicsner C, Chan TC, Vilke GM: The efficacy of nebulized albuterol/ipratropium
bromide versus albuterol alone in the prehospital treatment of suspected reactive airways disease.
Prehosp Emerg Care 2005;9(4):3 86-90.

Davis DP, Douglas DJ, Smith W, Sise MJ, Vilke GM, Holbrook TL, Kennedy F, Eastman AB,
Velky T, Hoyt DB: Traumatic brain injury outcomes in pre- and post- menopausal females versus
age-matched males, J Neurotrauma 2006;23(2):140-8.

Davis DP, Idris AH, Sise MJ, Kennedy F, Brent Eastman A, Velky T, Vilke GM, Hoyt DB: Early
ventilation and outcome in patients with moderate to severe traumatic brain injury, Crit Care Med
2006;34(4):1202-1208.

Dunford IV, Castillo EM, Chan TC, Vilke GM, Jenson P, Lindsay SP: Impact of the San Dicgo
Scrial Inebriate Program on use of emergency medical resources. Ann Emerg Med 2006;47(4):328-
36.

Vadcboncoeur T, Davis DP, Ochs M, Poste JC, Hoyt DB, Vilke GM: The ability of paramedics to
predict aspiration in patients undergoing prehospital rapid sequence intubation. J Emerg Med 2006;
30(2}:131-136.

Davis DP, Serrano JA, Vilke GM, Sise MJ, Kennedy F, Eastman AB, Velky T, Hoyt DB. The
Predictive Value of Field versus Arrival Glasgow Coma Scale Score and TRISS Calculations in
Moderate-to-Severe Traumatic Brain Injury. J Trauma. 2006;60(5):985-990,

Ramanujam P, Vilke GM: Prehospital management of the difficult airway. Clinical Foundations
2006;7-11.

Vilke GM, Tornabene SV, Stepanski B, Shipp HE, Upledger Ray L, Metz MA, Vroman D,
Anderson M, Murrin PA, Davis DP, Harley J: Paramedic self-reported medication errors. Prehosp
Emerg Care 2006;10(4):457-462.

Goldstein EH, Hradecky G, Vilke GM, Chan TC: Impact of a standardized protocol to address

methicillin-resistant staphylococcus aureus skin infections at a large, urban county jail system. J
Correctional Health Care 2006;12(3):181-188.

Chappell S, Vilke GM, Chan TC, Harrigan RA, Ufberg JW: Peripheral venous cutdown.
J Emerg Med 2006;31(4):411-416.

Lev R, Vilke G, Dunford J. San Dicgo Regional STEMI Summit, San Diego Physician. 2006;4:11-
13.

Case 3:06-cv-00108 Document 348-1 Filed.11/30/08 Page 11 of 76 PagelD #: 10872

 
Vilke GM, Smith AM, Stepanski B, Shipp HE, Upledger Ray L, Murrin PA, Chan TC,
Impact of the San Diego County firestorm on Emergency Medical Services, Prehosp Dis Med
2006;21(5}:353-358.

Soroudi A, Shipp HE, Stepanski BM, Ray LU, Murrin PA, Chan TC, Davis DP, Vilke GM. Adult
foreign body airway obstruction in the prehospital setting. Prehosp Emerg Care. 2007 Jan-
Mar;11(1):25-9.

Michalewicz BA, Chan TC, Vilke GM, Levy SS, Neuman TS, Kolkhorst FW. Ventilatory and
metabolic demands during aggressive physical restraint in healthy adults. J Forensic Sci
2007;52(1): 171-175.

Vilke GM, Tornabene SV, Stepanski 8, Shipp HE, Upledger Ray L, Mctz MA, Vroman D,
Anderson M, Murrin PA, Davis DP, Harley J: Paramedic self-reported medication errors. Prehosp
Emerg Care 2007;11(1):80-84.

Dolkas L, Stanley C, Smith AM, Vilke GM. Deaths associated with choking in San Diego county. J
Forensic Sci. 2007;52(1):176-9,

Harrigan RA, Chan TC, Moonblatt 8, Vilke GM, Ufberg JW. Temporary transvenous pacemaker
placement in the Emergency Department. J Emerg Med 2007;32(4):105-111.

Davis DP, Kene M, Vilke GM, Sise MJ, Kennedy F, Eastman AB, Velky T, Hoyt DB. Head-Injured
Patients Who "Talk and Dic": The San Diego Perspective, J Trauma. 2007 Feb;62(2):277-281.

Ma G, Davis DP, Schmitt J, Vilke GM, Chan TC, Hayden SR, The sensitivity and specificity of
transcricothyroid ultrasonography to confirm endotracheal tube placement in a cadaver model, J
Emerg Med 2007;32(4):405-4 14.

Davis DP, Fisher R, Aguilar S, Metz M, Ochs G, McCallum-Brown L, Ramanujam P, Buono C,

Vilke GM, Chan TC, Dunford JV. The feasibility of a regional cardiac arrest receiving system.
Resuscitation. 2007;74(1):44-5 1.

Case 3:06-cv-00108 Document 348-1 Filgg@.11/30/08 Page 12 of 76 PagelD #: 10873

 
Levine SD, Sloane CM, Chan TC, Dunford JV, Vilke GM. Cardiac monitoring of human
subjects exposed to the taser. J Emerg Med. 2007;33(@2):113-7.-

Firestone D, Wos A, Kiln JP, Chan TC, Guluma K, Davis DP, Vilke GM. Can urine dipstick
be uscd as a surrogate for serum creatinine in emergency department patients who undergo
contrast studies? J Emerg Med. 2007;33(2):119-22.

Khaleghi M, Loh A, Vroman D, Chan TC, Vilke GM. The effects of minimizing ambulance
diversion hours on emergency departments. J Emerg Med. 2007;33(2):155-9,

Davis DP, Graydon C, Stcin R, Wilson S, Buesch B, Berthiaume S, D, Rivas J, Vilke GM,
Leahy DR. The positive predictive value of paramedic versus emergency. physician
interpretation of the prehospital 12-lead electrocardiogram, Prehosp Emerg Care
2007;11(4):399-402.

Vilke GM, Chan TC. Less lethal technology: medical issues. Policing 2007;30(3):341-357.

Vilke GM, Sloane CM, Bouton KD, Kolkhorst FW, Levine SD, Neuman TS, Castillo EM,
Chan T Physiological Effects of a Conducted Electrical Weapon on Human Subjects. Ann
Emerg Med. 2007:.50(5):569-75.

Conroy C, Eastman AB, Stanley C, Vilke GM, Vaughan T, Hoyt DB, Pacyna 8. Fatal
Positional Asphyxia Associated With Rollover Crashes. Am J Forensic Med Pathol.
2007;28(4):330-332.

Vilke GM, Sloane C, Levine S, Neuman T, Castillo E, Chan TC. Twelve-lead
electrocardiogram monitoring of subjects before and after voluntary exposure to the Taser
X26.Am J Emerg Med. 2008;26(1):1-4.

Sloane CM, Chan TC, Vilke GM. Thoracic Spine Compression Fracture after TASER
Activation. J Emerg Med. 2008 Jan 9; [Epub ahead of print]

Chan TC, Harrigan RA, Ufberg J, Vilke GM. Mandibular Reduction. J Emerg Med. 2008 Jan
31; [Epub ahead of print]

Tornabene SV, Deutsch R, Davis DP, Chan TC, Vilke GM. Evaluating the use and timing of
opioids for the treatment of migraine headaches in the emergency department. J Emerg Med.
2008 Feb 13; [Epub ahead of print]

Vilke GM, Ufberg JW, Harrigan RA, Chan TC. Evaluation and Treatment of Acute Urinary
Retention. J Emerg Med. 2008 Feb 13; [Epub ahead of print]

Sloane CM, Chan TC, Levine SD, Dunford JV, Neuman T, Vilke GM. Serum Troponin |
Measurement of Subjects Exposed to the Taser X-26(R). J Emerg Med. 2008 Feb 23; [Epub
ahead of print]

-13-

Case 3:06-cv-00108 Document 348-1 Filed 11/30/08 Page 13 of 76 PagelID #: 10874

 
Tornabene 8, Vilke GM. Gradenigo's Syndrome. J Emerg Med, 2008 Feb 23; [Epub ahead of
print]

Vilke GM, Sloane CM, Neuman T, Castillo EM, Chan TC, Kolkhorst F, In reply to Taser
safety remains unclear. Ann Emerg Med. 2008 Jul;52(1):85-86.

Sloane CM, Vilke GM. Medical Aspects of Less-Lethal Weapons, Law Enforcement
Executive Forum, 2008;8(4):8 1-94,

Books / Book Chapters

Vilke GM: Head Trauma, Blunt, In: The 5 Minute Emergency Medicine Consult.
Rosen P, Barkin RM, Hayden SR, Schaider JJ, Wolfe R (Eds.); Philadelphia: Lippincott
Williams & Wilkins, 1999, pp 472-473,

Vilke GM: Head Trauma, Penetrating. In: The 5 Minute Emergency Medicine Consult.
Rosen P, Barkin RM, Hayden SR, Schaider JJ, Wolfe R (Eds.); Philadelphia: Lippincott
Williams & Wilkins, 1999, 474-475.

Atlas of Emergency Procedures. Rosen P, Chan TC, Vilke GM, Sternbach G (Eds.);
St. Louis: Mosby, Inc., 2001.

Vitke GM: Urethral Catheterization (Chapter 5: Genitourinary System). In: Atlas of
Emergency Procedures. Rosen P, Chan TC, Vilke GM, Sternbach G (Eds.); St. Louis: Mosby,
Inc., 2001, pp 124-127.

Vilke GM: Cystostomy (Chapter 5: Genitourinary System). In: Atlas of Emergency
Procedures. Rosen P, Chan TC, Vilke GM, Sternbach G (Eds.); St. Louis: Mosby, Inc., 2001,
pp 128-129,

Vilke GM: Bladder Aspiration (Chapter 5: Genitourinary System), In: Atlas of Emergency
Procedures. Rosen P, Chan TC, Vilke GM, Sternbach G (Eds.); St. Louis: Mosby, Inc., 2001,
pp 130-131.

Vilke GM: Dorsal Slit in Phimosis (Chapter 5: Genitourinary System). In: Atlas of
Emergency Procedures, Rosen P, Chan TC, Vilke GM, Sternbach G (Eds,); St. Louis: Mosby,
Inc., 2001, pp 132-133.

Vilke GM: Manual Paraphimosis Reduction (Chapter 5: Genitourinary System). In: Atlas of
Emergency Procedures. Rosen P, Chan TC, Vilke GM, Sternbach G (Eds.); St. Louis: Mosby,
Inc., 2001, pp 134-135.

Vilke GM: Zipper Removal (Chapter 5: Genitourinary System), In: AUas of Emergency
Procedures. Rosen P, Chan TC, Vilke GM, Sternbach G (Eds.); St. Louis: Mosby, Inc., 2001,
pp 136-137.

_{4-

Case 3:06-cv-00108 Document 348-1 Filed 11/30/08 Page 14 of 76 PagelD #: 10875

 
Hayden SR, Silfvast T, Deakin CD, Vilke GM: Surgical Procedures. In: Prchospital Trauma
Care. Sorcide E, Grande CM (Eds.); New York: Marcel Dekker, Inc., 2001, pp 323-354.

Hayden SR, Thierbach A, Vilke GM, Sugrue M; Patient Turnover: Arriving and Interacting in
the Emergency Department. In: Prehospital Trauma Care. Soreide E, Grande CM (Eds.}; New
York: Maree! Dekker, Inc., 2001, pp 737-751.

 

Vilke GM: Cervical Spine Injury, Adult. In: Rosen and Barkin’s 5-Minute Emergency
Medicine Consult (second edition). Schaider J, Hayden SR, Wolfe R, Barkin RM, Rosen P
(Eds.); Philadelphia: Lippincott Williams & Wilkins, 2003, pp 1048-9,

 

Vilke GM: Extremity Trauma, Penetrating. In: Rosen and Barkin’s 5-Minute Emergency
Medicine Consult (second edition), Schaider J, Hayden SR, Wolfe R, Barkin RM, Rosen P
(Eds.); Philadeiphia; Lippincott Williams & Wilkins, 2003, pp 394-5,

 

Vilke GM: Head ‘Trauma, Blunt. In: Rosen and Barkin’s 5-Minute Emergency Medicine
Consult (second edition). Schaider J, Hayden SR, Wolfe R, Barkin RM, Rosen P (Eds.);
Philadelphia: Lippincott Williams & Wilkins, 2003, pp 476-7.

Vilke GM: Head Trauma, Penetrating, In: Rosen and Barkin’s 5-Minufe Emergency Medicine
Consult (second edition). Schaider J, Hayden SR, Wolfe R, Barkin RM, Rosen P (Eds, ds
Philadelphia: Lippincott Williams & Wilkins, 2003, pp 478-9.

 

Vilke GM: Ring/Constricting Band Removal. In: Rosen and Barkin’s 5-Minute Emergency
Medicine Consult (second edition). Schaider J, Hayden SR, Wolfe R, Barkin RM, Rosen P
(Eds.); Philadelphia: Lippincott Williams & Wilkins, 2003, pp 980-1.

 

Vilke GM: Warts. In: Rosen and Barkin’s 5-Minute Emergency Medicine Consult (second
edition), Schaider J, Hayden SR, Wolfe R, Barkin RM, Rosen P (Eds.); Philadelphia:
Lippincott Williams & Wilkins, 2003, pp 1222-3.

Vilke GM: Fournier’s Gangrene. In: Rosen and Barkin’s 5-Minute Emergency Medicine
Consult (second edition), Schaider J, Hayden SR, Wolfe R, Barkin RM, Rosen P (Eds.);
Philadelphia: Lippincott Williams & Wilkins, 2003, pp 430-1.

Vilke GM: Variants of Normal. In: ECG in Emergency Medicine and Acute Care, Chan TC,
Brady WJ, Harrigan RA, Ornato JP, Rosen P (Eds.); Philadelphia: Elsevier Mosby, 2005, pp
12-15.

Vilke GM: Keloid Formation. In: Greenberg’s Text-Atlas of Emergency Medicine. Greenberg
MI, Hendrickson RG, Silverberg M (Eds.); Philadelphia: Lippincott Williams and Wilkins,
2005, p 684.

Vilke GM: Distal Digital Amputation, In: Greenberg’s Text-Atlas of Emergency Medicine.
Greenberg MI, Hendrickson RG, Silverberg M (Eds.); Philadelphia: Lippincott Williams and
Wilkins, 2005, p 685.

-15-
Case 3:06-cv-00108 Document 348-1 Filed 11/30/08 Page 15 of 76 PagelD #: 10876

 
Vilke GM: Painful Syndromes of the Hand and Wrist. In: Harwood-Nuss’ Clinical Practice of |
Emergency Medicine fourth edition. Editor-in-chief; AB Wolfson. Lippincott Williams and
Wilkins, 2005 Philadelphia, PA Pages 536-540.

Vilke GM: Neck Holds. In: Sudden Deaths in Custody. Ross DL, Chan TC (Eds.); New
Jersey: Humana Press, 2006, pp 15-38.

Sloane C, Vilke GM: Riot Control Agents, Tasers and Other Less Lethal Weapons. In:

Sudden Deaths in Custody. Ross DL, Chan TC (Eds.); New Jersey: Humana Press, 2006, pp
113-138.

Vilke GM: Clostridium botulinum Toxin (Botulism) Attack. In: Disaster Medicine. Ciottone
GR (Ed.}; Boston: Elsevier Mosby, 2006, pp 701-704.

Vilke GM: Viral Agents (Section 10, Part 2). Section Editor. In: Disaster Medicine.
Ciottone GR (Ed.); Boston: Elsevier Mosby, 2006,

Patel R, Reynoso J, Vilke GM: Genitourinary Trauma, In: Emergency Medicine Handbook.
Clinical Concepts for Clinical Practice. Roppolo LP, Davis D, Kelly SP, Rosen P (Eds.);
Philadelphia: Elsevier Mosby, 2007, pp 164-173.

 

Vilke GM: Extremity Trauma, Penetrating. In: Rosen & Barkin's 5-Minute Emergency
Medicine Consult (third edilion), Schaider JJ, Hayden SR, Wolfe RE, Barkin RM, Rosen P
(Eds.); Philadelphia: Lippincott Williams & Wilkins, 2007, pp 392-393,

Vilke GM: Fournier’s Gangrene, In: Rosen & Barkin's 5-Minute Emergency Medicine
Consult (third edition). Schaider J, Hayden SR, Wolfe RE, Barkin RM, Rosen P (Eds.);
Philadelphia: Lippincott Williams & Wilkins, 2007, pp 428-429.

Vilke GM: Head Trauma, Blunt. In: Rosen & Barkin's 5-Minute Emergency Medicine Consult
(third edition). Schaider JJ, Hayden SR, Wolfe RE, Barkin RM, Rosen P (Eds.}; Philadelphia:
Lippincott Williams & Wilkins, 2007, pp 474-475.

Vilke GM: Head Trauma, Penetrating. In: Rosen.& Barkin's 5-Minute Emergency Medicine
Consult (third edition). Schaider J, Hayden SR, Wolfe RE, Barkin RM, Rosen P (Eds.);
Philadelphia: Lippincott Williams & Wilkins, 2007, pp 476-477.

Vilke GM: Spine Injury: Cervical, Adult. In: Rosen & Barkin's 5-Minute Emergency
Medicine Consult (third edition). Schaider JJ, Hayden SR, Wolfe RE, Barkin RM, Rosen P
(Eds.); Philadelphia: Lippincott Williams & Wilkins, 2007, pp 1040-1041.

Vilke GM: Warts. In: Rosen & Barkin's 5-Minute Emergency Medicine Consult (third
edition), Schaider JJ, Hayden SR, Wolfe RE, Barkin RM, Rosen P (Eds.); Philadelphia:
Lippincott Williams & Wilkins, 2007, pp 1224-1225.

-16-
Case 3:06-cv-00108 Document 348-1 Filed 11/30/08 Page 16 of 76 PagelD #: 10877

 
Vilke GM, Sloane CM, Chan TC. Accelerated Triage for Medical Evaluations Following CED
Activations. In: Critical Issues in Policing Series: Strategies for Resolving Conflict and
Minimizing Use of Force, Ederheimer JA (Ed); Washington DC, Police Executive Research
Forum, 2007, pp 108-109,

Peer-Reviewed Published Abstracts

Moats T, Chan TC, Ochs M, Buchanan J, Vilke GM: Successful out-of-hospital airway
management by emergency medical technician-Is using the Combitube. Acad Emerg Med
1998;5(5):3 88.

Hamilton RS, Davis DP, Chan TC, Vilke GM, Hayden SR: The effect of blade type and
cervical spinal immobilization on laryngoscopy in a cadaver model of intubation. Acad Emerg
Med 1998;5(5):397.

Vilke GM, Chan TC, Neuman T, Clausen JL: The effect of body position on pulmonary
function, Acad Emerg Med 1998;5(5):397.

Friedman L, Vilke GM, Chan TC, Hayden SR, Krishel SJ, Rosen P: Emergency department
airway management before and after the start ofan emergency medicine residency training
program. Acad Emerg Med 1998;5(5):444,

Davis DP, Bramwell KJ, Hamilton RS, Chan TC, Vilke GM: Cricothyrotomy speed and
safety: A comparison between standard open technique and rapid four-step technique using
a novel device. Acad Emerg Med 1998:5(5):483.

Davis DP, Fisher RP, Chan TC, Dunford JV, Vilke GM: Rapid-sequence induction for
out-of-hospital intubations: A multimedia course designed for paramedics. Acad Emerg Med
1998;5(5):502.

Chan TC, Vilke GM, Buchanan J, Anderson M: Patient ethnicity and age in prehospital
emergency ambulance use and acuity rates. Prehospital Emerg Care 1998;2(3);223,

Marino AT, Vilke GM, Chan TC, Buchanan J: Precision of prehospital diazepam dosing for
children in status epilepticus. Prehospital Emerg Care 1998;2(3):232.

Marino AT, Vilke GM, Chan TC, Buchanan J: Comparison of prehospital IV and rectal
diazepam for the treatment of pediatric seizures. Prehospital Emerg Care 199832(3):233.

Vilke GM, Chan TC, Buchanan J, Dunford JV: Are opiate overdose deaths related to patient
release after prehospital naloxone? Prehospital Emerg Care 1998;2(3):236,

Vilke GM, Dunford JV, Buchanan J, Chan TC: Are opiate overdose deaths related to patient
release afler naloxone? Ann Emerg Med 1998;32(3)Part 2:86.

~17-
Case 3:06-cv-00108 Document 348-1 Filed 11/30/08 Page 17 of 76 PagelD #: 10878

 
Gerling MC, Hamilton RS, Davis DP, Morris GF, Vilke GM, Hayden SR, Garfin SR: Effects
of cervical spine immobilization technique and laryngoscope blade selection on an unstable
cervical spine injury in a cadaver model of intubation. Ann Emerg Med 1998;32(3)Part 2:S13.

Marino AT, Chan TC, Buchanan J, Vilke GM: Precision of prehospital diazepam dosing for
children in status epilepticus. Ann Emerg Med 1998;32(3}Part 2:S30.

Marino AT, Vilke GM, Buchanan J, Chan TC: Comparison of prehospital intravenous and rectal
diazepam for the treatment of pediatric scizures, Ann Emerg Med 1998;32(3)Part 2:530.

Davis D, Bramwell K, Hamilton R, Chan T, Vilke G: The fresh-frozen cadaver free-larynx
model for cricothyrotomy training. Ann Emerg Med 1998;32(3)Part 2:834-S35,

Sloane C, Chan TC, Vilke GM, Hayden SR, Krishel SJ, Rosen P: Rapid sequence induction
intubation of trauma patients in the prehospital versus hospital setting. Ann Emerg Med 1998;
32(3)Part 2:550.

Chan FC, Bramwell kK, Hamilton R, Davis D, Vilke GM: Comparison of Melcker

cricothyrotomy versus standard technique in human cadaver model. Ann Emerg Med 1998;
32(3)Part 2:850-S5 1.

Chew GS, Chan TC, Bramwell K, Davis DP, Vilke GM: Does the syringe esophageal detector
device accurately detect an esophageal intubation following gastric distention from air
insufflation? Ann Emerg Med 1998;32(3)Part 2:S51.

Chan TC, Vilke GM, Kramer M, Buchanan J, Dunford J: Does a complete neurologic
examination adequately screen for significant intracranial abnormalities in minor head injury? J
Emerg Med 1998;16(5):804.

Chan TC, Vilke GM, Kramer M, Buchanan J, Dunford J: Does GCS score affect prehospital
intubation success rates in trauma patients? J Emerg Med 1998;16(5):804-805.

Vilke GM, Chan TC, Guss DA: Prospective study on the utility of head CT scan in patients
with minor head injury and GCS scores of 15. J Emerg Med 1998;16(6):984,

Chan TC, Vilke GM, Ray LU, Anderson ME: Use of prehospital crash injury data to assess
regional automobile safety restraint use. Prehospital Emerg Care 1999;3(1):83-84,

Vilke GM, Chan TC: Effect of a physician speaking directly to prehospital patients who want
to sign out against medical advice. Prehospital Emerg Care 1999;3(1}:90.

Marino A, Vilke GM, Chan TC: Urban paramedics experience, camfort, and accuracy in the
estimation of pediatric weights. Prehospital Emerg Care 1999;3(1):92.

=~ TR

Case 3:06-cv-00108 Document 348-1 Filed 11/30/08 Page 18 of 76 PagelD #: 10879

 
Chan TC, Bramwell KJ, Davis DP, Hamilton RS, Vilke GM: Comparison of wire-guided
percutaneous Melcker cricothyrotomy versus standard cricothyrotomy technique in human
cadaver models. Acad Emerg Med 1999;6(5):514.

Ma G, Hayden SR, Chan TC, Vilke GM, Schmitt J, Chan D: Using ultrasound to visualize and
confirm endotracheal intubation. Acad Emerg Med 1999;6(5):515.

Hamilton RS, Davis DP, Nordt SP, Vilke GM, Chan TC: Lidocaine administration through an
esophagcally placed Combitube in a canine model. Acad Emerg Med 1999;6(5):519-520.

Chew GS, Chan TC, Bramwell K, Davis DP, Vilke GM: Does gastric distention from air
insufflation affect the accuracy of the syringe esophageal detector device in detecting
esophageal intubation? Acad Emerg Med 1999;6(5):520.

Vilke GM, Marino A, Iskander J, Chan TC: Knowledge of prescribed medications by
emergency department patients. Acad Emerg Med 1999;6(5):539,

Davis D, Marino A, Vilke G, Dunford J, Videen J: Hyponatremia in marathon runners:
Experience with the inaugural rock ‘n’ roll marathon, Ann Emerg Med 1999;34(4)Part 2:840-
S41.

Davis DP, Kimbro T, Vilke GM: The use of midazolam for prehospital rapid-scquence

intubation may be associated with a dose-related increase in hypotension. Prehosp Emerg Care
2000;4(1):90.

Marino AT, Sharicff G, Gerhart AE, Chan TC, Vilke GM: The efficacy and complication rate
of prehospital midazolam for the treatment of pediatric seizures. Prehosp Emerg Care 2000;
A(1):92.

Eisele }W, Chan T, Vilke G, Neuman T, Clausen J: Comparison of respiratory function in the
prone maximal restraint position with and without additional weight force on the back.
Proceedings of the American Acadamy of Forensic Sciences 2000;V1:202,

Chan TC, Vilke GM, Neuman T, Clark RF, Clausen J: Effect of oleoresin capsicum, “Acad
Emerg Med 2000;7(5):471.

Vilke GM, Marino A, Chan TC: Survey of paramedics for latex allergy risk factors.
Acad Emerg Med 2000;7(5):483.

Schmitt JM, Ma G, Hayden SR, Vilke G, Chan T: Suprasternal versus cricothyroid ultrasound

probe position in the confirmation of endotracheal tube placement by bedside ultrasound.
Acad Emerg Med 2000;7(5):526.

Schmitt JM, Ma G, Hayden SR, Vilke G, Chan T: Use of new air absorbing ultrasound
contrast in the confirmation of endotracheal tube placement by bedside ultrasound. Acad
Emerg Med 2000;7(5):526.

-19-

Case 3:06-cv-00108 Document 348-1 Filed 11/30/08 Page 19 of 76 PagelD #: 10880

 
Wold RM, Davis DP, Patel R, Chan TC, Vilke GM: Original clinical decision guideline to
identify patients with spinal epidural abscess. Acad Emerg Med 2000;7(5):574-575.

Ma G, Chan TC, Vilke GM, Schmitt J, Hayden SR: Confirming endotrachcal intubation using
ultrasound. Ann Emerg Med 2000;36(4)Part 2:520-S21.

Deitch $, Vilke GM, Marino A, Vroman D, Chan TC: Effect of prehospital use of
nitroglycerine on EKG findings in patients with chest pain. J Emerg Med 2001;20(3):321,

Chan TC, Vilke GM, Neuman T, Clausen J, Schmidt P, Snowden T, Clark RF: Does oleoresin
capsicum “pepper spray” exposure impact cardiovascular function in human subjects? Acad
Emerg Med 2001;8(5):442.

Chan TC, Vilke GM, Bender 8, Saldamando V, Smith J, Dunford JV: Effect ofa multi-
disciplinary community homeless outreach team on emergency department visits by homeless
alcoholics. Acad Emerg Med 2001;8(5).486.

Davis DP, Ochs M, Hoyt DB, Vilke GM, Dunford JV: The use of the Combitube as a salvage
airway device for paramedic rapid-sequence intubation. Acad Emerg Med 2001 38(5):500.

Vilke GM, Simmons C, Brown L, Skogland P, Guss DA: Approach to decreasing emergency
department ambulance diversion hours. Acad Emerg Med 2001;8(5):526,

Chan TC, Vilke GM, Clausen J, Clark R, Schmidt P, Snowden T, Neuman T: Impact of
oleoresin capsicum spray on respiratory function in human subjects in the sitting and prone
maximal restraint positions positions, 1998 (computer file). Inter-university Consortium for
Political and Social Research (distributor), 2001.

Cardall TY, Glasser JL, Davis D, Vilke GM: Cricothyrotomy training in emergency medicine
residencies. Ann Emerg Med 2001 ;38(4):S9.

Chan TC, Dunford JV, Vilke GM, Hix A, Schnell S, Liening J, Edgar J: Effect ofa multi-

disciplinary serial inebriate program on emergency department visits by chronic alcoholics in
two urban area hospitals, Ann Emerg Med 2001;38(4):S33.

Valentine C, Davis D, Ochs M, Hoyt D, Bailey D, Vilke G: The use of the Combitube as a
salvage airway device for paramedic rapid-sequence intubation. Prehosp Emerg Care
2002;6(1):144.

Chan TC, Dunford JV, Smith S, Sparrow W, Vilke GM: Impact ofan on-call physician on
emergency 911 transports from a county jail. Prchosp Emerg Care 2002;6(1):162.

Vilke GM, Sardar W, Fisher R, Dunford JV, Chan TC: Follow-up of elderly patients who
refuse transport after accessing 9-1-1, Prehosp Emerg Care 2002;6(1):164.

-20-

Case 3:06-cv-00108 Document 348-1 Filed 11/30/08 Page 20 of 76 PagelD #: 10881

 
Vilke GM, Steen PJ, Smith AM, Chan TC: Out-of-hospital pediatric intubation by paramedics:
The San Diego experience. Prehosp Emerg Care 2002;6(1):165.

Jin AS, Chan T, Davis D, Ville G: Prospective randomized study of viscous lidocaine vs
Hurricaine in a GI cocktail for dyspepsia, Acad Emerg Med 2002;9(5):381-382.

Jenson P, Chan TC, Vilke GM, Leining J, Schnell R, Chester R, Berthelct J, Marcotte A,
Simmons C, Kelly D, Dunford J: Impact ofa multi-disciplinary, community serial inebriate

program on ED visits by chronic alcoholics to three urban emergency departments, Acad
Emerg Med 2002;9(5):389,

Austin T, Chan TC, Nyheim E, Kelly D, Vilke GM: Does the addition of parenteral opiate pre-
medication increase risk for complications when combined with methohexital for moderate
procedural sedation in the ED? Acad Emerg Med 2002;9(5):407.

Glasser JL, Cardall TY, Podboy M, Vilke GM: Out-of-hospital pediatric rapid-sequence
intubation by an acromedical provider. Acad Emerg Med 2002;9(5):422-423,

Chan TC, Austin T, Nyheim E, Kelly D, Vilke GM: Does parenteral opiate premedication
increase risk of complications when combined with methohexital for orthopedic reductions in
the emergency department? Ann Emerg Med 2002;40(4):57-S8.

Davis D, Tokhi R, Wold R, Patel R, Chan T, Vilke G: The clinical presentation and outcome
ofemergency department patients with spinal epidural abscess, Ann Emerg Med 2002;40(4):
5103.

Vilke GM, Loh A: A prospective study of minimizing ambulance diversion and its effects on
emergency department census and hospital admissions. Prehosp' Emerg Med-2003;7(1):171-.

Buono C, Vilke GM, Schwartz B, Brown L, Swabb C: Identifying reasons for and outcomes

of patients who access 9-1-1, then sign oul against medical advice. Prchosp Emerg Med
200337(1):172.

Vilke GM, Sloane C, Smith AM, Chan TC: Assessment for deaths in prehospital heroin

overdose patients treated with Naloxone who refuse transport. Prehosp Emerg Med
2003;7(1}:190.

Vilke GM, Lev R, Castillo EM, Murrin PA, Chan TC: Prospective Countywide Trial to
Decrease Ambulance Diversion Hours. Acad Emerg Med 2003;10(5):465.

Tran A, Davis DP, Wold RM, Patel R, Chan TC, Vilke GM: The Use of Risk Factor
Assessment to Screen for Spinal Epidural Abcess in Emergency Department Patients with
Spine Pain, Acad Emerg Med 2003;10(5):569.

-21-

Case 3:06-cv-00108 Document 348-1 Filed 11/30/08 Page 21 of 76 PagelD #: 10882

 
Chan TC, Kelso D, Dunford JV, Vilke GM: Can Trained Health Educators Provide Screening,
Bricf Intervention and Referral Services in an Academic Teaching Hospital Emergency
Department? Acad Emerg Med 2003;10(5):515,

Vilke GM, Lev R, Castillo EM, Metz MA, Murrin PA, Chan TC. The effect of decreasing
ambulance diversion hours on emergency department inter facility transfers. Ann Emerg Med
2003; 42(4):S6.

Vilke GM, Lev R, Castillo EM, Metz MA, Murrin PA, Chan TC. San Dicgo County improved
patient destination trial to decrease emergency department diversion hours and diverted
patients. Ann Emerg Med 2003; 42(4):S82,

Chan TC, Clausen J, Neuman T, Eisele JW, Vilke GM, Does weight force during physical
restraint cause respiratory compromise? Ann Emerg Med 2003; 42(4):S17,

Davis D, Grossman K, Vilke G, Kiggins D, Chan TC. Inadvertent anticoagulation of
emergency department patients with aortic dissection. Ann Emerg Med 2003; 42(4): $99.

Vilke GM, Wiesner C, Davis DP, Chan TC, The efficacy of adding ipratropium bromide to
albuterol for the prehospital treatment of reactive airways disease. Prchosp Emerg Care 2004;
8(1):112.

Vilke GM, Vadeboncocur T, Davis DP, Poste JC, Ochs M, Hoyt DB. The predictive value of
paramedic assessment of aspiration in patients undergoing RS}. Prchosp Emerg Care 2004;
8(1):88-9,

Vilke G, Castillo E, Metz M, Murrin P, Ray LU, Lev R, Chan T. Community trial to decrease
ambulance diversion of patients and hours. Prehosp Emerg Care 2004; 8(1):84.

Chan TC, Kiln JP, Kelly D, Vilke GM, Guss DA: Impact ofa rapid emergency department
entry and an accelerated care initiative on patient wait times and length of stay. Acad Emerg
Med 2004;11(5):485.

Davis DP, Vadeboncocur TF, Poste JC, Vilke GM, Ochs M, Hoyt DB: The use of field
Glasgow coma scale to screen severely head-injured patients to undergo paramedic rapid
sequence intubation. Acad Emerg Med 2004;11(5):492,

Patel RJ, Davis D, Vilke GM, Chan TC: Comparison of wire-guided cricothyrotomy technique
with and without batloon-cuffed endotracheal tubes vs. standard surgical cricothyrotomy.
Acad Emerg Med 2004;11(5):522.

Vilke GM, Chan TC, Dunford JV, Poste JC, Metz M, Ochs G, Smith A, Fisher R, McCallum-
Brown L, Davis DP: The three-phase model of cardiac arrest as applied to ventricular
fibrillation in a large, urban emergency medical services system. Acad Emerg Med
2004;11(5):604.

92.

Case 3:06-cv-00108 Document 348-1 Filed 11/30/08 Page 22 of 76 PagelD #: 10883

 
Hutton K, Swanson E, Vilke G, Davis D, Jones S, Heogeveen B. Cricothyrotomies by air
medical providers in 2853 paticnt intubations. Air Med J 2004; 23(5):33.

Davis D, Buono C, Vilke G, Sise M, Eastman B, Kennedy F, Vilke T, Hoyt D: The efficacy of
ait medical response to patients with moderate to severe traumatic brain injury. Air Med J
2004; 23(5):31.

Hutton K, Swanson E, Vilke G, Davis D, Jones 8, Hoogevecn B: Laryngoscopic visualization
grade predicts difficult intubations by air medical crews in the prchosp ital setting. Air Med J
2004; 23(5):30.

Hutton K, Swanson E, Vilke G, Davis D, Jones S, Hoogeveen B: Success and failure rates of
RS] versus non-RSI intubations by air medical providers in 2853 pat icnts. Air Med J 2004;
23(5):30.

Metz M, Marcotte A, Vilke GM. The Effect of Decreasing Ambulance Diversion Hours on ED
Interfacility Transfers. J Emerg Nurs. 2004;30(5):411.

Metz M, Murrin P, Vilke GM. Community trial to decrease ambulance diversion hours: the
San Dicgo county patient destination trial. J Emerg Nurs. 2004;30(5):4 10.

Metz M, Murrin P, Vilke GM. The Three-Phase EMS Cardiac Arrest Model for Ventricular
Fibrillation. J Emerg Nurs. 2004;30(5):405.

Vilke GM, Murrin P, Gardina L, Upledger Ray L, Stepanski B, Chan TC. Impact of a new
booster seat law, Ann Emerg Med 2004; 44(4):S39-S40,

Vilke GM, Marcotte A, Metz M, Upledger Ray L. Pain management in the out-of-hospital
setting. Ann Emerg Med 2004; 44(4):S63,

Vilke GM, Murrin PA, Marcotte A, Upledger RL. Impact of the San Diego County firestorm
on emergency medical services. Ann Emerg Med 2004; 44(4):8 102-8103.

Davis DP, Pettit K, Poste JC, Vilke GM. The efficacy of out-ofhospital needle and tube
thoracostomy in major trauma victims. Ann Emerg Med 2004; 44(4):5103.

Buono CJ, Davis DP, Vilkc GM, Stepanski B. Esophageal Intubation in an EMS system: a SIX-
year experience. Prehosp Emerg Care 2005; 9(1}:113.

Dunford JV, Vilke GM, Chan TC. Utilization of EMS and hospital resources by serial
inebriate program (SIP) clients. Prchosp Emerg Care 2005; 9(1):116.

Davis DP, Serrano JA, Buono CJ, Vilke GM, Sise MJ, Hoyt DB. The predictive value of field

and arrival Glasgow coma score in modcrate-to-severe brain injury. Prehosp Emerg Care
2005; 9(1):124.

-23-

Case 3:06-cv-00108 Document 348-1 Filed 11/30/08 Page 23 of 76 PagelD #: 10884

 
Vilke GM, Castillo EM, Upledger-Ray L, Davis DP, Murrin PA, Kennedy F, Cox $, Coimbra
R. Evaluation of paramedic field triage of injured patients to trauma centers and emergency
departments, Prehosp Emerg Care 2005; 9(1):125.

Vilke GM, Harley J, Metz M, Stepanski B, Vroman D, Anderson M, Shipp H. Paramedic self-
reported medication errors in an anonymous survcy. Prehosp Emerg Care 2005; 9(1):127,

Bush J, Chan TC, Kiln JP, Vilke GM. The effect of changing from a latex agglutination D-
Dimer to an ELISA D-Dimer on emergency physicians ordering imaging studies practices to
evaluate for pulmonary embolism. Acad Emerg Med 2005312(5):41.

Vilke GM, Michalewicz B, Kolkhorst FW, Neuman T, Chan TC. Does weight force during
physical restraint cause respiratory compromise? Acad Emerg Med 2005;!2(5):16.

Levine SD, Sloane C, Chan TC, Vilke GM, Dunford J. Cardiac monitoring of subjects
exposed to the Taser. Acad Emerg Med 2005;12(5):71.

Davis DP, Buono C, Serrano J, Vilke GM, Sise MJ, Hoyt DB. The impact of hyper- and
hypoventilation on outcome in traumatic brain injury. Acad Emerg Med 2005;12(5):138-139.

Davis D, Buono C, Ramanujam P, Fisher R, Vilke GM, Chan TC, Metz M, Dunford J. The
potential safety of designated cardiac arrest receiving facilities. Ann Emerg Med
2005;46(3):S17.

Chan TC, Kiln JP, Kelly DL, Vilke GM, Guss DA. Accelerated care at triage: Physician-
directed ancillary testing at triange for paticnts waiting in an emergency department. Ann
Emerg Med 2005;46(3):5 107-S108.

Davis D, Reynoso J, Harley J, Kanegaye J, Buono C, Vilke G. The natural history of pediatric
patients meeting criteria for paramedic intraosseous catheter insertion. Prchosp Emerg Care
2006;10(1):110.

Davis D, Ramanujam P, Buono C, Vilke G. The sensitivity of capnometry to detect
endotracheal intubation: Where should we draw the line? Prehosp Emerg Care

2006;10(1):118.

Levine S, Sloane C, Chan T, Dunford J, Vilke G. Cardiac monitoring of subjects exposed to
the taser, Prchosp Emerg Care 2006;10(1):130.

Levine SD, Sloane C, Chan TC, Vilke GM, Dunford J; Cardiac monitoring of human subjects
exposed to the taser. Acad Emerg Med 2006;13(5 Supp 1):S47.

Vilke GM, Dolkas L, Stanley C, Smith AM, Chan TC: Evaluation of deaths associated with
choking. Acad Emerg Med 2006;13(5 Supp 1):S49,

-24-

Case 3:06-cv-00108 Document 348-1 Filed 11/30/08 Page 24 of 76 PagelD #: 10885

 
Chan TC, Vilke GM, Michalewicz BA, Neuman T, Levy S, Kotkhorst F: Does physical
restraint impact metabolic oxygen consumption during exertion? Acad Emerg Med 2006; 13(5
Supp 1):S46.

Castillo EM, Vilke GM, Sturgis KN, Chan TC, Lindsay SP, Dunford JV: Decrease of health
care service utilization among chronic public inebriates. Acad Emerg Med 2006;13 (5 Supp
1):5105-106.

Vilke G, Johnson W, Castillo EM, Ederheimer JA, Wexler C, Sloane CM, Chan TC:
Evaluation of in-custody deaths proximal to use of conductive encrgy devices. Ann Emerg
Med 2006;48(4 Supp 1):S23-S24.

Tornabene SV, Chan TC, Davis DP, Deutsch R, Vilke GM: Evaluating the use and timing of
opioids for the treatment of migraine headaches in the ED, Ann Emerg Med 2006;48 (4 Supp
1):S59-S60.

Davis D, Salazar A, Vilke G, Chan T: The utility of a novet decision rule to diagnose spidal
epidural abscess in ED paticnts with back pain, Ann Emerg Mcd 2006;48(4 Supp 1):S66.

Kiln JP, Chan TC, Vilke GM, Buono C, Griswold W, Rao R, Lenert L: Wireless computerized
rapid triage in the field: How well does technology perform during mass casualty incidents
and disaster events? Ann Emerg Med 2006;48(4 Supp 1):S69.

Vilke GM, Castillo EM, Stepanski BM, Murrin PA, Upledger-Ray L, Metz MA, Chan TC:
San Dicgo County patient destination trial to decrease ambulance division hours: Three year
follow-up. Ann Emerg Med 2006;48(4 Supp 1):$90.

Graydon C, Wilson S, Leahy D, Berthiaume S, Buesch B, Stein R, Vilke G, Davis D: The
positive predictive value of paramedic versus emergency physician interpretation of the
prehospital 12-lead ECG, Prehosp Emerg Care 2006;10(1):116.

Ramanujam P, Stepanski B, Smith A, Upledger-Ray L, Vilke GM. Impact ofa state booster
seat law on compliance in pediatric traffic crash victims. Ann Emerg Med 2006; 48(4 Supp
1):S56.

Michalewiecz BA, Chan TC, Vilke GM, Levy SS, Neuman ‘TS, Kolkhorst FW. Ventilatory and
metabolic demands during aggressive physical restraint in healthy adults. Med Sci Sports
Exerc 2006;38(5) Suppl:S452-S453.

Chan T, Sloane C, Neuman T, Levine S, Castillo E, Vilke G, Bouton K, Kohokorst F. The
impact of the taser weapon on respiratory and ventilatory function in human subjects. Acad
2merg Med 2007; 14(5 Suppl £): $191-192.

-25.

Case 3:06-cv-00108 Document 348-1 Filed 11/30/08 Page 25 of 76 PagelD #: 10886

 
Buono C, Lyon J, Huang R, Brown §, Liu F, Vilke G, Kiln J, Chan T, Kirsh D, Lenert L. Does
wireless technology improve patient tracking in mass casualty incidents? Acad Emerg Med
2007; 14(5 Suppl 1): $190.

Vilke G, Sloane C, Levine S, Neuman T, Castillo E, Chan T. Does the Taser Cause Electrical
Changes in Twelve Lead ECG Monitoring of Human Subjects? Acad Emerg Med 2007; 14(5
Suppl 1): $104,

Vilke G, Sloane C, Bouton kK, Levine §, Neuman T, Castillo E, Kolkhorst F, Chan T.
Cardiovascular and metabolic effects of the taser on human subjects. Acad Emerg Med 2007;
14(5 Suppl 1): 8104-105.

Sloane C, Vilke G, Chan T, Levine 8, Dunford J. Serum troponin I measurement of subjects
exposed to the taser x-26. Acad Emerg Med 2007; 14(5 Suppl 1): $103-104,

Michalewicz BA, Chan TC, Vilke GM, Levy SS, Neuman TS, Kolkhorst FW. Ventilatory and
metabolic demands during aggressive physical restraint in healthy adults. Med Sci Sports
Exerc 2006;38(5) Suppl:$452-5453.

Bouton KD, Vilke GM, Chan TC, Sloane C, Levine $8, Neuman TS, Levy SS, Kolkhorst FW,
Physiological effects ofa five second Taser exposure, Med Sci Sports Exere 2007;39(5
Supp)):$323.

Firestone D, Band RA, Hollander JE, Castillo EM, Vilke GM. Can Urine Dipstick and Brief
Questionnaire Predict Abnormal Serum Creatinine in Emergency Department Patients? Ann
Emerg Med 2007; 50(3):824,

Vilke GM, Sloane C, Suffecool AC, Neuman TS, Castillo EM, Kolkhorst FW, Chan TC.
Physiologic Effects of the TASER on Human Subjects After Exercise, Ann Emerg Med 2007;
50(3):S55.

Chan TC, Kiln JP, Castillo EM, Vilke GM, Guss DA. Impact of Electronic Medication
Reconciliation on Triage Times for Patients Seen in the Emergency Department. Ann Emerg
Med 2007; 50(3):S71.

Marsan Jr RJ, Vilke GM, Chan TC, Davis DP, Stepanski BM. Description and Efficacy of
Treatment of Hemodynamically Significant Bradycardia tn a Large, Urban, Pacing-capable
EMS System. Ann Emerg Med 2007; 50(3):880.

Bouton KD, Vilke GM, Chan ‘TC, Sloane C, Levine S, Neuman TS, Levy 8S, Kolkhorst FW.
Physiological Effects of a Five Second Taser Exposure; Med Sci Sports Exerc. 2007;39:8323.

Chan TC, Kiln JP, Castillo EM, Vilke GM, Kennedy S, leinbergR, Guss DA. Impact ofan
internet based referral appointment system community clinic access and follow-up for ED
patients with no primary care. Acad Emerg Med 2008; 15(5 Supp! 1): S104.

- 26 -

Case 3:06-cv-00108 Document 348-1 Filed 11/30/08 Page 26 of 76 PagelD #: 10887

 
Vilke GM, Sloane CM, Suffecoo!l A, Neuman T, Castillo EM, Kolkhorst F, Chan TC.
Crossover-controtled human study of the physiologic effects of the Taser afler vigorous
exercise, Acad Emerg Med 2008; 15(5 Suppl 1): S155.

Vilke GM, Chan TC, Kiln JP, Castillo EM. Impact of psychiatric patient holds in the
emergency department on overcrowding. Acad Emerg Med 2008; 15(5 Suppl 1): $221.

Barnard AC, Sloane C, Vilke GM, Chan TC, Neuman TS, Kolkhorst FW. Physiological effects
of TASER X-26 after intense exercise. Med and Sci in Sports and Exercise 2008; 40(Supp! 5):
S475,

-27-

Case 3:06-cv-00108 Document 348-1 Filed 11/30/08 Page 27 of 76 PagelD #: 10888

 
Appendix B

List of all cases in which testified as an expert in trial or deposition within the
preceding four years

November 4, 2004 — Trial

Elizabeth M. Acosta v. City of San Diego et al
U.S. District Court, Southern District of California
Case # 01cev1973 1 JAH)

December 17, 2004 - Deposilion
William A. Forsyth, Jr. and Ann Forsyth v, DeKalb Medical Center, Inc., et al
Civil Action File No. 00-1676-2

January 7, 2005 — Deposition

Monrell D. Murphy v. P.I. Terry, et al

U.S. District Court, Northern District of California
Case No. Co2-4023 VRW (PR)

April 26, 2005 — Deposition

Demus Rich and wife, Melba Rich v. City of Savannah, ct al.
U.S. District Court

Case ## 1-02-1222

January 26, 2006 - Trial
William A, Forsyth, Jr. and Ann Forsyth v. DeKalb Medical Center, Inc., et al
Civil Action File No. 00-1676-2

September 14, 2006 — Deposition

Dr. Benny ©. Iko et al, v Jon P. Galley, ct al

United States District Court for the District of Maryland, Greenbelt Division
Case No. DKC-04-373 1

January 25, 2007 — Deposition

Abdel El-Emawy, individually and as personal representative of the estate of Afaf Abou-
Zaid, Mohamed El-Emawy, individually, Ahmed El-Emawy, individually, Mahmoud El-
Emawy, individually,Omar El-Emawy, individually v. William Abbott, MD, H. David
Arredondo, MD and Markus Hamm, MD.

Second Judicial District Court

County of Bernalillo, State of New Mexico

Case No. CV 2005-06492

July 10, 2007 — Deposition

Kimberly Anne Baker et al. v, Children’s Healthcare of Atlanta, Inc, et al
Superior Court, Oconee County, Georgia

Civil Action File No, 2004-CV-0303-J

- 28 -

Case 3:06-cv-00108 Document 348-1 Filed 11/30/08 Page 28 of 76 PagelD #: 10889

 
January 8, 2008 — Deposition

Charles Reynolds, as personal representative of the estate of Melissa Trujillo, deceased,
et al vy Cibola General Hospital and Robert Lutes, M.D.

Second Judicial District Court, County of Bernalillo, State of New Mexico

Case No.: CV 2006-05102

April 28, 2008 — Deposition

Dennis P. Murphy, as personal representative of the estate of William D. Crumpton, -
deceased v, Laura Kay, Logan Roots, Santa Fe Sheriff, et al.

U.S. District Court for the District of New Mexico

Case No.: 07-CV-188 JP/WDS

~ 29.4

Case 3:06-cv-00108 Document 348-1 Filed 11/30/08 Page 29 of 76 PagelD #: 10890

 
CURRICULUM VITAE
GARY MICHAEL VILKE, M.D. FACEP, FAAEM

HOME ADDRESS: OFFICE ADDRESS:

11279 Breckenridge Way Department of Emergency Medicine
San Diego, CA 92131 UCSD Medical Center

Phone: (858) 653-5292 200 W. Arbor Drive

Fax: (858) 653-5292 San Diego, CA 92103-8676

Pager: (619) 290-9149 Phone: (619) 543-6210

Fax: (619) 543-3115
E-mail: gmvilke@ucsd.edu

PERSONAL: — Born September 12, 1966 in Cleveland, Ohio
Marital Status: Married, two children

EDUCATION:
Academic: B.S. in Zoology, University of California, Berkeley
1983-88 Berkeley, California

Medical School: M.D., University of California, San Diego School of Medicine
1988-92 La Jolla, California

Internship: Department of Surgery
1992-93 University of California, San Diego Medical Center
San Diego, California
Residency: Department of Emergency Medicine
1993-96 University of California, San Diego Medical Center

San Diego, California (Chief Resident: 1995-96)
LICENSURE: California Medical License Number G-78057
BOARD CERTIFICATIONS:

National Board of Medical Examiners, 1993

American Board of Emergency Medicine, 1997

Case 3:06-cv-00108 Document 348-1 Filed 11/30/08 Page 30 of 76 PagelD #: 10891

 
Curriculum Vitae

Gary M, Vilke, M.D., FACEP, FAAEM

APPOINTMENTS:

7/05 - Present

7/07 - Present

2/06 - Present

7/04 — Present

4/99 - Present

7/96 - Present

7/94 - Present

Professor of Clinical Medicine, University of California, San Diego (UCSD)
School of Medicine

Vice Chief of Staff, UCSD Medical Center

Director of Clinical Research, UCSD Medical Center, Department of
Emergency Medicine

EMS/Disaster Medicine Fellowship Co-Director, Department of Emergency
Medicine.

Director, Custody Services, UCSD Medical Center

Assistant Director, Department of Emergency Medicinc, UCSD Medical
Center

Base Hospital Physician, University of California Medical Center

PREVIOUS EXPERIENCE:

 

3/02 - 2/06
3/03 - 12/05
7/01 - 6/05
6/04 - 2/05
1/01 - 2/04
7/00 ~ 2/04
7/97 - 1/03
6/97 - 1/03
7196 - 1/03

7/96 - 6/01
4/99 - 3/01
1/96 - 7/96
7/95 - 7/96
12/94 - 7/96
10/94 - 7/96
4/94 - 7/95

Medical Director, San Diego County Emergency Medical Services

Medical Consultant, San Diego Chapter Red Cross Disaster Health Services
Associate Professor of Clinical Medicine, UCSD School of Medicine
Interim Chief, San Diego County Emergency Medical Services

Medical Director, Southwestern College Paramedic Training Program
Medical Director, Palomar College Paramedic Training Program

Director, Prehospital Services, UCSD Medical Center

Medical Director, Paramedic Base Hospital, UCSD Medical Center

Medical Director, Mercy Air Medical Transport Service, San Diego,
California

Assistant Clinical Professor of Medicine, UCSD School of Medicine

Medical Co-Director, San Diego Central Jail Medical Services

Flight Physician, Mercy Air Medical Transport Service, San Diego,California
Associated Emergency Physicians Medical Group, San Diego, California
Kaiser Permanente Emergency Department, San Diego, California

Med America Health Resource Company, San Diego, California

Sharp-Rees-Stealy Urgent Care, San Diego, California

Case 3:06-cv-00108 Document 348-1 Fied 11/30/08 Page 31 of 76 PagelD #: 10892

 
Curriculum Vitae
Gary M. Vilke, M.D,, FACEP, FAAEM

7/93 - 12/95 Flight Physician, Life Flight Air Medical Transport Service

 

HONORS AND AWARDS:
1990 Random House Medical Student Award
1996 ~~ American College of Emergency Physicians, California Chapter Challenge
Bowl Winner
1996 = Council of Residency Directors (CORD) Resident Academic Achicvement Award
1996 Outstanding Emergency Medicine Resident
1996 UCSD Emergency Department Staff Support Award
1996 Journal of Emergency Medicine Outstanding Contribution Award
1999 “Golden Apple” Teaching Award, UCSD Emergency Medicine Residency
Graduating Class of 1999
2000 Faculty of the Year, UCSD Emergency Medicine Residency Graduating Class of 2000
2000 Best Research Poster Presentation, California Chapter of the American College of
Emergency Physicians (CAL/ACEP) Scientific Assembly, Dana Point, California
2000 Outstanding Scientific Abstract, State of California EMS Authority Annual Emergency
. Medical Services for Children Conference, San Diego, California, November 2000
2001 Best Oral Presentation, CAL/ACEP Scientific Assembly, Santa Clara, California
2004 Academy of Clinician Scholars, University of California San Diego
2004 Top Doctor in San Diego County, San Dicgo Magazine
2004 Top Peer Reviewer, Annals of Emergency Medicine
2005 Top Doctor in San Diego County, San Diego Magazine
2005 ~— Clinical Investigation Institute, University of California San Diego
2006 Top Doctor in San Diego County, San Diego Magazine
2007 — Finalist San Diego Business Journal Health Care Champion Award
2007 Top Doctor in San Diego County, San Diego Magazine
2007 Top Peer Reviewer, Annals of Emergency Medicine

Case 3:06-cv-00108 Document 348-1 Fiéd 11/30/08 Page 32 of 76 PagelD #: 10893

 
Curriculum Vitae
Gary M. Vilke, M.D., FACEP, FAAIIM

CERTIFICATIONS:

Basic Cardiac Life Support Instructor
Pediatric Life Support Provider
Advanced Cardiac Life Support Instructor
Advanced Trauma Life Support Provider
Hazardous Material Training, Level }

Advanced HAZMAT Life Support Provider

PROFESSIONAL SOCIETY MEMBERSHIPS:

American Medical Association, 1988-97

California Alumni Association, 1988

American College of Emergency Physicians, 1991-2000

Fellow, American College of Emergency Physicians, 2000

California Chapter of the American College of Emergency Physicians, 1991
Society for Academic Emergency Medicine, 1995

National Association of EMS Physicians, 1998

Fellow, American Academy of Emergency Medicine, 2000

California Chapter of the American Academy of Emergency Medicine, 2000
American Association of University Professors, 2002

California Conference of the American Association of University Professors, 2002
San Diego Faculty Association, 2002

San Diego County Medical Society, 2003

California Medical Association, 2003

Case 3:06-cv-00108 Document 348-1 Filed 11/30/08 Page 33 of 76 PagelD #: 10894

 
Curriculum Vitae
Gary M. Vilke, M.D,, FACEP, FAAEM

CURRENT ACTIVITIES:

 

Member, Disaster Medical Assistance Team (CA-4), 1994

Objective Structured Clinical Examiner, Introduction to Clinical Medicine, UCSD School of
Medicine, 1997

UCSD Alumni Preceptor, UCSD School of Medicine, 1997

Medical Director, San Dicgo County Metropolitan Medical Strike Team, 1998

Quality Assurance Reviewer, Department of Emergency Medicine, UCSD Medical Center, 1999
Evaluator, UCSD Physician Assessment and Clinical Evaluation (PACE) Program, 2000
Tactical EMS Care Provider for San Diego Sheriffs Special Enforcement Detail (SED), 2007

Journals
Reviewer, Annals of Emergency Medicine, Mosby, 1998

Associate Editor/Editorial Board, Journal of Emergency Medicine, Elsevier Science, Inc., 2007,
(Editorial board since 2000; reviewer since 1994)

Reviewer, California Journal of Emergency Medicine, 2001

Reviewer, American Journal of Emergency Medicine, Elsevier Science, Inc., 2005
Reviewer, Practical Summaries in Acute Care, Thomson American Health Consultants, 2006
Reviewer, Emergency Medicine Journal, BMA House, 2006

iditorial Board, Prehospital Emergency Care, Taylor & Francis Group, 2006 (Reviewer since
2004)

Reviewer, /“orensic Science International, 2007

Reviewer, Western Journal of emergency Medicine, 2007

Case:3:06-cv-00108 Document 348-1 Filed 11/30/08 Page 34 of 76 PagelD #: 10895

 
Curriculum Vitae
Gary M. Vilke, M.D., FACEP, FAAEM

PREVIOUS ACTIVITIES:

 

Vice-President, California Chapter of Emergency Medicine Residents Association, 1994-95

Editor-in-Chief, California Chapter of Emergency Medicine Residents Association Newsletter,
1994-95

Co-Director, School of Medicine 225: Introduction to Emergency Medicine, UCSD School of
Medicine, 1994-95

Reviewer, Journal of Emergency Medicine, Pergamon Press, 1994-2000 (now on editorial board)
Strike Team Leader, DMAT Olympics 1996 Biological & Chemical Antiterrorist Medical Support
Associate Editor, Journal of Emergency Medicine, Pergamon Press, 1996-97

Reviewer, European Journal of Epidemiology, Kluwer Academic Publishers, 1996-97

Director, Mercy Air Medical Transport Services Continuing Clinical Education, 1996-2003
Member, San Diego County 911 Dispatch Quality Review Board, 1997-98

Co-Director, University of California, San Dicgo School of Medicine, Course SOM 224],
Pediatric Advanced Life Support Course, 1997-2002 .

Editor-in-Chief, UCSD Medical Center EMS Run Review, 1997-2003

Sponsor, Palomar College Emergency Medical Education Department Paramedic Training,
1997-2003 .

Medical Support Physician, Super Bowl XXXII, San Dicgo, California, January 25, 1998
Medical Support Physician, Suzuki Rock-n-Roll Marathon, San Diego, California, June 21, 1998

Marketing Director, California Chapter of the American College of Emergency Physicians
(CAL/ACEP) Scientific Assembly, 1998-99

Member, Program Committee, CAL/ACEP Scientific Assembly, 1998-99

Howard Hughes Foundation Undergraduate Preceptor, 1998, 1999

Co-editor, Pearls from PAC Newsletter, 1998-2000

Preceptor, Introduction to Clinical Medicine 201-B, UCSD School of Medicine, 1999
EMS Team Leader, San Diego County Metropolitan Medical Strike Team, 1999
Co-Chair, Program Committee, CAL/ACEP Scientific Assembly, 1999-2000 and 2000-01
Member, San Diego County Bio-Terrorism Planning Group, 1999-2003

Moderator, EMS Poster Section, Western Regional Society for Academic Emergency Medicine
Conference, Portland, Oregon, April 2000

Preceptor, California State University Dominguez Hills Statewide Nursing Program, 2000

Affiliate Faculty, Southwestern College Paramedic Training Program, 2000-03

Case 3:06-cv-00108 Document 348-1 Filéd 11/30/08 Page 35 of 76 PagelD #: 10896

 
Curriculum Vitae
Gary M. Vilke, M.D., FACEP, FAAEM

PREVIOUS ACTIVITIES, continued:
Medical Director, EPIC “Eliminate Preventable Injuries of Children” Medics, San Diego
County, 2000-03
San Diego Port District AED (Automated External Defibrillator) Program RPF Panel, 2001
Peer Reviewer, Pediatric Emergency Medicine Reports, 2001
Reviewer, Scientific Abstract Presentations, CAL/ACEP Scientific Assembly, 2001-02
Membcr, Board of Directors, CAL/ACEP, 2001-02 .
Moderator, Western Regional SAEM Research Presentations, San Diego, California, April 2002
Clinical Coordinator, Southwestern College Emergency Medical Technician Program, 2001-03
Santa Clara County/Regional Medical Center Trauma Designation Review Committee, 2004
San Diego County Health Services Capacity Issues Task Force, 2002-06
San Diego Regional Safety Consortium Inter-facility Transfer Protocol Task Force, 2004-06
San Diego Regional Fire Prevention Emergency Preparedness Task Force, 2004-2006
San Diego County Task Force on Fire Prevention, 2004-06

President-Elect, EMS Medical Director’s Association of California, 2005-06

Case 3:06-cv-00108 Document 348-1 Filéd 11/30/08 Page 36 of 76 PagelD #: 10897

 
Curriculum Vitae
Gary M., Vilke, M.D., FACEP, FAAEM

CURRENT UCSD COMMITTEE MEMBERSHIPS:

 

Research Committee, Department of Emergency Medicine, 1997

Trauma Multidisciplinary Committee, 2000

UCSD Faculty Association, 2002

Quality Improvement Committee, Department of Emergency Medicine, 2002
UCSD/San Diego Sheriff Security Working Group, 2003

Patient Safety Committee, 2003

Quality Council Committee, 2003

Chair, Patient Care and Peer Review Committee, 2007 (member since 2005)
Sceretary-Treasurer, UCSD Academy of Clinician Scholars, 2005

UCSD Academy of Clinician Scholars Executive Committee, 2005

Department of Medicine Committee on Advancement and Promotions (DOMCAP), 2007
Vice Chair, Medical Staff Executive Committee, 2007

PREVIOUS UCSD COMMITTEE MEMBERSHIPS:

Chair, Emergency Department Staffing Committee of Process Action Team, 1994-95
Hospital Infection Control Committee, 1994-95

Emergency Medicine Housestaff Association Representative, 1994-96

Emergency Department Clinical Practices Committee, 1994-96

Emergency Department Peer Review/Quality Assurance Committee, 1995-96
Emergency Department Critical Care Room Process Action Team, 1996
Paramedic/Emergency Department Interface Task Force, 1998-99

Emergency Department Staffing Committce, Department of Emergency Medicine, 1999
Credentials Committee, 1997-2000

Faculty Search Committee, Department of Emergency Medicine, 1999, 2000, 2002
Medical Director’s Group, 1997-2002

Paticnt Care Review Committee, 2003

Medical Risk Management Committee, 2002-03

Patient Improvement and Outcome Committee, 2003-05

Medical Staff Executive Committee Reorganization Ad Hoc Committee, 2005
UCSD Phasing Strategy Ad Hoc Committee, 2005

Clinical Representative, Trauina Quality Assurance Program, 1998-2006

Case 3:06-cv-00108 Document 348-1 Fi@d 11/30/08 Page 37 of 76 PagelD #: 10898

 
Curriculum Vitae
Gary M. Vilke, M.D., FACEP, FAAEM

PREVIOUS UCSD COMMITTEE MEMBERSHIPS, continued:

Chair, Medical Risk Management Committee, 2003-2007 (member since 2002)
Medical Risk Management Executive Committee, 2003-2007
UCSD Medical Center Allocation Committee 2005-07

CURRENT COMMITTEE MEMBERSHIPS:

 

Operations Committee, San Diego County Metropolitan Medical Strike Team, 1998
San Diego Central Jail Quality Assurance Committee, 1999

San Diego Central Jail Medical Oversight Committee, 1999

Training Committee, San Diego County Metropolitan Medical Strike Team, 2001

Case 3:06-cv-00108 Document 348-1 Fit@d 11/30/08 Page 38 of 76 PagelD #: 10899

 
Curriculum Vitae
Gary M. Ville, M.D., FACEP, FAAEM

PREVIOUS COMMITTEE MEMBERSIUPS:

Practice Management Committee, CAL/ACEP, 1994-95

Research Subcommittee, San Diego County Prehospital Audit Committee, 1997-99

Prehospital RSI Task Force, San Diego County Prehospital Audit Committee, 1997-99

San Diego County Base Hospital Physicians Committee, 1997-2006

San Diego County Trauma Audit Committee, 1997-2006

San Diego County Prehospital Audit Committce, 1997-2006

Commitice on Prehospital Stroke Triage, San Diego County Medical Society, 1998

Chair, San Diego County Prehospital Audit Committee, 1998-2000

Stecring Committee, San Diego County Metropolitan Medical Strike Team, 1998-2001

Chair, CPR Subcommittee, San Diego County Prehospital Audit Committee, 1998-2002

City of San Diego EMS Physicians! Advisory Committee, 1998-2003

City of San Diego Prehospital Cardiac Advisory Committee, 1998-2003

Chair, San Diego County Aeromedical Protocol Committee, 1998-2006

San Diego County Committee on Pediatric Emergency Medicine, 1998-2006

Program Committee, CAL/ACEP Scientific Assembly, 1998-2001 (Co-Chair for 1999-2001)
Awards Committee, CAL/ACEP Scientific Assembly, 1999-2001 .

EMS Committee, San Dicgo County Metropolitan Medical Strike Team, 1999-2001

San Diego Metropolitan Medical Response System Bio-Terrorism Planning Group, 1999-2001

San Diego County Pediatric CPR Task Force, 1999-2000

San Diego Sheriff's Source Selection Committee, 2000

San Diego County EMS QA Net Prehospital Design Steering Committee, 2000-01

San Diego County SIPs (Serial Incbriate Program) Task Force, 2000-02

Chair, Research Subcommittee, San Diego County Prehospital Audit Committee, 2000-02

Education Committee, CAL/ACEP, 2000-03

San Diego County Paramedic Training Joint Advisory Committee, 2000-06

San Diego County Public Health Preparedness Team, 2001-06

EMS Section, American College of Emergency Physicians, 2001-06

Chair, Training Committee, San Diego County Metropolitan Medical Strike Team, 2001-02

Co-Chair, EMS Committee, CAL/ACEP, 2001-02

Policy Committee, CAL/ACEP, 2001-02

Task Force Leader, CAL/ACEP Scientific Assembly, 2001-02

Case 3:06-cv-00108 Document 348-1 Fié@-11/30/08 Page 39 of 76 PagelD #: 10900

 
Curriculum Vitae
Gary M. Ville, M.D., FACEP, FAAEM

PREVIOUS COMMITTEE MEMBERSHIPS, continued:
Governmental Affairs Committee, CAL/ACEP, 2001-02
Didactic Subcommittee, SAEM Program Committee, 2001-02
Program Mgmt Committee, San Diego County Metropolitan Medical Strike Team, 2001-03
Air Medical Transport Section, American College of Emergency Physicians, 2001-03
San Diego County Sheriff's Mortality Review Committee, 2001-03
San Diego County Sheriffs Pharmacy and Therapeutics Committee, 2001-03
SAEM EMS Interest Group, 2001-2006 (Co-chair 2003-04)
San Diego County EMS for Children (EMSC) Advisory Committee, 2002-05
Scientific Subcommittce, SAEM Program Committee, 2002-05
EMS Medical Director’s Association of California, 2002-06
San Diego County Trauma Administrators Committee, 2002-06
Chair, San Diego County EMS Research Committee, 2002-06
Chair, San Diego County Paramedic Protocol Revision Committee, 2002-06
San Diego County Public Health Services Physicians Group, 2003-06
San Diego County Healthcare Advisory Committee on Terrorism, 2003-06
Member-at-large, EMDAC Officer Board, 2004-05
San Diego County Fire Chief?s Association, 2004-06
San Diego County Sheriff's Helicopter Program Ad Hoe Advisory Committee, 2004-06
Chair, San Diego County HRSA Work Group, 2004-06
San Diego County Regional Helicopter Advisory Committee, 2004-06
San Diego County HRSA Executive Steering Committee, 2004-06
San Diego County Critical Care Transport Working Group, 2005-06
San Diego County Prehospital Patient Record IT Stecring Committee, 2005-06
San Diego County Cardiac Advisory Commitice, 2005-06
San Diego County Stroke Advisory Committee, 2005-06
San Diego County Emergency Medical Care Committee, 2006
Co-Chair, San Diego County Medical Society EMS Medical Oversight Committee, 2002-2006
Chair, EMS Committee, Amcrican Academy of Emergency Medicine Califormia Chapter, 2000-
2006
SAEM Program Committee, 2001-2007 .
Chair, Photography Subcommittee, SAEM Program Committee, 2002-2007

Case 3:06-cv-00108 Document 348-1 Fiéd-11/30/08 Page 40 of 76 PagelD #: 10901

 
Curriculum Vitae
Gary M, Vilke, M.D., FACEP, FAAEM

FUNDED RESEARCH:

1.

10.

Il,

12.

Co-Investigator with Tom Neuman (PI) for evaluation of positional asphyxia in the hobble
restraint position, funded by the County of San Diego, 1995--$33,900

Co-Investigator, with Theodore Chan (PI), for evaluation of the Melker percutaneous
cricothyrotomy kit in human cadavers, funded by Cook Medical Products, 1997--$10,000

Co-Investigator with John Eisele (PI) for the evaluation of positional asphyxia in the hobble
restraint position with weight on subjects! backs, funded by the American Academy of
Forensic Sciences, 1998--$2,500

Co-Investigator, with Theodore Chan (PD, for study entitled, “The Impact of Oleoresin
Capsicum Spray on Respiratory Function in Haman Subjects in the Sitting and Prone
Maximal Restraint Positions.” Study funded by the National Institute of Justice, U.S.
Department of Justice, 1998-99, UCSD No. 98-7107; USDOJ Federal Award #98-IJ-Cx-
0079, Amount: $128,176

Principle Investigator (PI) for study entitled “Evaluation of Hurricaine anesthetic in patients
with dyspepsia” funded by Beutlich Pharmaceuticals for, 2001. Amount: $1,500

Co-Investigator, with Theodore Chan (PI), for evaluation of the Melker percutaneous
cricothyrotomy kit in human cadavers, funded by Cook Medical Products, 2003. Amount;
$12,000.

Co-Investigator, with David Hoyt (PI) for the Resuscitation Outcomes Consortium: UCSD /
San Diego Resuscitation Research Center, funded by the NIH, 9/1/2004 to 6/30/2009. UOL
HL077908. Amount: $2,250,522

Co-Principal Investigator (Co-PJ), with Theodore Chan, for study entitled, “The effect of
Taser on Cardiac, Respiratory and Metabolic Physiology in Human Subjects.” Study funded
by the National Institute of Justice, U.S. Department of Justice, 10/1/2005 to 9/30/2007.
UCSD No, 2006-0846; USDOJ Federal Award #98-IJ-CX-0079, Amount: $213,941.49

Co-Investigator, with Daniel Davis (PI) for the study entitled, “ROC Interventional Trials:
Hypertonic Resuscitation for Traumatic Injury, Trauma Epistry, PRIMED”, funded by the
NIH, 7/1/2006 to 6/30/2008. UO1 11L077863. Amount: $331,320

Co-Investigator, with Danicl Davis (PD for the, “ROC Cardiac Epistry”, funded by the AHA,
7/1/2006 to 6/30/2008. Amount: $133,427

Co-Investigator, with Theodore Chan (PI) for study entitled, “Multi-Center Study of the
Impact of Nurse-Palient Ratios on Emergency Department Overcrowding.” funded by the
Emergency Medicine Foundation, 7/1/2007 to 6/30/2008. Amount: $50,000

Principal Investigator (P1) for study entitled, “Evaluation of the Ventilatory and Respiratory Effects of
a Restraint Chair on Human Subjects.” Funded by the Institute for the Prevention of In-Custody
Deaths, Inc, 1/1/07 to 12/31/07. Amount: $11,658.00

Case 3:06-cv-00108 Document 348-1 Fil@d 11/30/08 Page 41 of 76 PagelID #: 10902

 
Curriculum Vitae
Gary M, Vilke, M.D., FACEP, FAAEM

FUNDED RESEARCH, continued:
13. Co-Investigator, with Edward Castillo (PD) for study entitled, “California ED Diversion Project

Evaluation.” funded by the California Healthcare Foundation, 5/15/2008 to 10/15/2008.
Amount: $50,990

Case 3:06-cv-00108 Document 348-1 Filét-11/30/08 Page 42 of 76 PagelD #: 10903

 
Curriculum Vitae
Gary M. Vilke, M.D., PACEP, FAAEM

PUBLICATIONS:

Books / Book Chapters

1.

14.

10.

11.

12.

Vilke GM: Head Trauma, Blunt. In: The 5 Minute Emergency Medicine Consult.
Rosen P, Barkin RM, Hayden SR, Schaider JJ, Wolfe R (Eds.); Philadelphia; Lippincott
Williams & Wilkins, 1999, pp 472-473,

Vilke GM: Head Trauma, Penctrating. In: The 5 Minute Iimergency Medicine Consult.
Rosen P, Barkin RM, Hayden SR, Schaider JJ, Wolfe R (Eds.); Philadelphia: Lippincott
Williams & Wilkins, 1999, 474-475,

 

Atlas of Emergency Procedures. Rosen P, Chan TC, Vilke GM, Sternbach G (Eds.);
St. Louis: Mosby, Inc., 2001.

Vilke GM; Urethral Catheterization. In: Atlas of Emergency Procedures, Rosen P,
Chan TC, Vilke GM, Sternbach G Céds.); St. Louis: Mosby, Inc., 2001, pp 124-127,

 

Vilke GM: Cystostomy. In: Atlas of Emergency Procedures. Rosen P, Chan TC,
Vilke GM, Sternbach G (Eds.); St. Louis: Mosby, Inc., 2001, pp 128-129.

Vilke GM: Bladder Aspiration. In: Atlas of Emergency Procedures. Rosen P, Chan TC,
Vilke GM, Sternbach G (Eds.); St. Louis: Mosby, Inc., 2001, pp 130-131.

 

Vilke GM: Dorsal Slit in Phimosis. In: Atlas of Emergency Procedures. Rosen P, Chan TC,
Vilke GM, Sternbach G (Eds.); St. Louis: Mosby, Inc., 2001, pp 132-133.

 

Vilke GM: Manual Paraphimosis Reduction, In: Atlas of Emergency Procedures. Rosen P,
Chan TC, Vilke GM, Sternbach G (Eds.); St. Louis: Mosby, Inc., 2001, pp 134-135.

Vilke GM: Zipper Removal. In: Atlas of Emergency Procedures. Rosen P, Chan TC,
Vilke GM, Sternbach G (Eds.); St. Louis: Mosby, Inc., 2001, pp 136-137.

 

Hayden SR, Silfvast T, Deakin CD, Vilke GM: Surgical Procedures. In: Prehospital Trauma
Care. Soreide E, Grande CM (Eds.); New York: Marcel Dekker, Inc., 2001, pp 323-354.

Hayden SR, Thierbach A, Vilke GM, Sugrue M: Patient Turnover: Arriving and Interacting
in the Emergency Department. In: Prehospital Trauma Care. Soreide E, Grande CM (Eds.);
New York: Marcel Dekker, Inc., 2001, pp 737-751.

Vilke GM: Cervical Spine Injury, Adult, In: Rosen and Barkin’s 5-Minute Emergency
Medicine Consult (second edition), Schaider J, Hayden SR, Wolfe R, Barkin RM, Rosen P
(Eds.); Philadelphia: Lippincott Williams & Wilkins, 2003, pp 1048-1049.

Case 3:06-cv-00108 Document 348-1 Aled 11/30/08 Page 43 of 76 PagelD #: 10904

 
Curriculum Vilae
Gary M. Vilke, M.D,, FACEP, FAAEM

PUBLICATIONS, continued:

 

Books / Book Chapters

13,

14,

15.

16.

17.

18.

19,

20.

21.

22.

23.

Vilke GM: Extremity Trauma, Penetrating. In: Rosen and Barkin’s 5-Minute Emergency
Medicine Consult (second edition). Schaider J, Hayden SR, Wolfe R, Barkin RM, Rosen P
(Eds.); Philadelphia: Lippincott Williams & Wilkins, 2003, pp 394-395.

Vilke GM: Head Trauma, Blunt. In: Rosen and Barkin’s 5-Minute Emergency Medicine
Consult (second edition). Schaider J, Hayden SR, Wolfe R, Barkin RM, Rosen P (Eds.);
Philadelphia: Lippincott Williams & Wilkins, 2003, pp 476-477.

 

Vilke GM: Head Trauma, Penetrating. In: Rosen and Barlcin’s 5-Minute Emergency
Medicine Consult (second edition). Schaider J, Hayden SR, Wolfe R, Barkin RM, Rosen P
(Eds.); Philadelphia: Lippimcott Williams & Wilkins, 2003, pp 478-479.

Vilke GM: Ring/Constricting Band Removal. In: Rosen and Barkin’s 5-Minute Emergency
Medicine Consult (second edition). Schaider J, Hayden SR, Wolfe R, Barkin RM, Rosen P
(Eds.); Philadelphia: Lippincott Williams & Wilkins, 2003, pp 980-981.

Vilke GM: Warts, In: Rosen and Barkin’s 5-Minute Emergency Medicine Consult (second
edition). Schaider J, Hayden SR, Wolfe R, Barkin RM, Rosen P (Eds.}; Philadelphia:
Lippincott Williams & Wilkins, 2003, pp 1222-1223.

Vilke GM: Fournier’s Gangrene. In: Rosen and Barkin’s 5-Minute Emergency Medicine
Consult (second edition). Schaider J, Hayden SR, Wolfe R, Barkin RM, Rosen P (Eds.);
Philadelphia: Lippincott Williams & Wilkins, 2003, pp 430-431.

Vilke GM: Variants of Normal, In: ECG in Emergency Medicine and Acute Care. Chan TC,
Brady WJ, Harrigan RA, Ornato JP, Rosen P (Eds.); Philadelphia: Elsevier Mosby, 2005,
pp 12-15,

Vilke GM: Keloid Formation. In: Greenbere’s Text-Atlas of Emergency Medicine.
Greenberg MI, Hendrickson RG, Silverberg M (Eds.}; Philadelphia: Lippincott Williams and
Wilkins, 2005, p 684.

Vilke GM: Distal Digital Amputation. In: Greenberg’s Text-Atlas of Emergency Medicine.
Greenberg MI, Hendrickson RG, Silverberg M (Eds.); Philadelphia: Lippincott Williams and
Wilkins, 2005, p 685.

 

Vilke GM: Painful Syndromes of the Hand and Wrist. In: HWarwood-Nuss’ Clinical Practice
of Emergency Medicine fourth edition. Tditor-in-chief: AB Wolfson. Philadelphia: Lippincott
Williams and Wilkins, 2005, pp 536-540.

Vilke GM: Neck Holds. In: Sudden Deaths in Custody. Ross DL, Chan TC (Eds.);
New Jersey: Humana Press, 2006, pp 15-38.

Case 3:06-cv-00108 Document 348-1 Filéd 11/30/08 Page 44 of 76 PagelD #: 10905

 
Curriculum Vitae
Gary M. Vilke, M.D., FACEP, FAAEM

PUBLICATIONS, continued:

Books / Book Chapters

24,

20.

26,

27.

28,

29,

30,

31.

32.

33.

34.

Sloane C, Vilke GM: Riot Control Agents, Tasers and Other Less Lethal Weapons.
In: Sudden Deaths in Custody. Ross DL, Chan TC (Eds.); New Jersey: Humana Press, 2006,
pp 113-138.

Vilke GM: Clostridium botulinum Toxin (Botulism) Attack. In: Disaster Medicine.
Ciottone GR (Ed.); Boston: Elsevier Mosby, 2006, pp 701-704.

Vilke GM: Viral Agents (Section 10, Part 2). Section Editor. In: Disaster Medicine.
Ciottone GR (Ed.); Boston: Elsevier Mosby, 2006, pp 661-697,

Patel R, Reynoso J, Vilke GM: Genitourinary Trauma. In: Emergency Medicine Handbook.
Clinical Concepts for Clinical Practice. Roppolo LP, Davis D, Kelly SP, Rosen P (Eds.);
Philadelphia: Elsevier Mosby, 2007, pp 164-173.

Vilke GM: Extremity Trauma, Penetrating. In: Rosen & Barkin's 5-Minute Emergency
Medicine Consult (third edition), Schaider JI, Hayden SR, Wolfe RE, Barkin RM, Rosen P
(ds.}; Philadelphia: Lippincott Williams & Wilkins, 2007, pp 392-393,

Vilke GM: Fournier’s Gangrene. In: Rosen & Barkin's 5-Minute Emergency Medicine
Consult (third edition). Schaider JJ, Hayden SR, Wolfe RE, Barkin RM, Rosen P (Eds.),
Philadelphia: Lippincott Williams & Wilkins, 2007, pp 428-429.

Vilke GM; Head Trauma, Blunt. In: Rosen & Barkin's 5-Minute Emergency Medicine
Consult (third edition). Schaider JJ, Hayden SR, Wolfe RE, Barkin RM, Rosen P (Eds.);
Philadelphia: Lippincott Williams & Wilkins, 2007, pp 474-475.

Vilke GM: Head Trauma, Penetrating. In: Rosen & Barkin's 5-Minute Emergency Medicine
Consult (third edition). Schaider JJ, Hayden SR, Wolfe RE, Barkin RM, Rosen P (Eds.);
Philadelphia: Lippincott Williams & Wilkins, 2007, pp 476-477.

Vilke GM: Spine Injury: Cervical, Adult. In: Rosen & Barkin's 5-Minute Emergency
Medicine Consult (third edition). Schaider JJ, Hayden SR, Wolfe RE, Barkin RM, Rosen P
(Eds.); Philadelphia: Lippincott Williams & Wilkins, 2007, pp 1040-1041.

Vilke GM: Warts. In: Rosen & Barkin's 5-Minute Emergency Medicine Consult (third
edition). Schaider JJ, Hayden SR, Wolfe RE, Barkin RM, Rosen P (Eds.); Philadelphia:
Lippincott Williams & Wilkins, 2007, pp 1224-1225.

Vilke GM, Sloane CM, Chan TC. Accelcrated Triage for Medical Evaluations Following
CED Activations. In: Critical Issues in Policing Serics: Strategies for Resolving Conflict and
Minimizing Use of Force. Ederheimer JA (Ed); Washington DC, Police Executive Research
Forum, 2007, pp 108-109.

Case 3:06-cv-00108 Document 348-1 Filéfi-11/30/08 Page 45 of 76 PagelD #: 10906

 
Curriculum Vitae
Gary M. Vilke, M.D., FACEP, FAAEM

VIDEO;

1. Vilke GM, Davis DP, Robinson A: “Glasgow Coma Scale and the Field Neurological Exam”
Instructional Video, San Diego County Emergency Medical Services, Copyright 1997.

Case 3:06-cv-00108 Document 348-1 Fil@d 11/30/08 Page 46 of 76 PagelID #: 10907

 
Curriculum Vitae
Gary M. Vilke, M.D., FACEP, FAAEM

PUBLICATIONS, continued:

Articles

l.

10.

11.

12,

13.

14.

15.

Vilke GM, Hoyt DB, Epperson M, Fortlage D, Hutton KC, Rosen P: Intubation techniques
in the helicopter. J Emerg Med 1994;12(2):217-224,

Rockwell E, Jackson E, Vilke G, Jeste DV: A study of delusions in a large cohort of
Alzheimer's disease patients. Am J Geriatric Psychiatry 1994;2(2):157-164.

Chan T, Vilke GM, Williams 8: Bi-directional ventricular tachycardia in a patient with
digoxin toxicity. J Emerg Med 1995;13(1):89.

Vilke GM: Misplaced intravascular catheters in a paticnt with acute renal failure. J Emerg
Med 1995;13(3):379.

Vilke GM, Vilke TS, Rosen P: The completeness of MEDLINE for papers published in the

Journal of Emergency Medicine. J Emerg Med 1995;13(4):457-460,

Bauman BH, Vilke G, Chan T: Dexamethasone use in croup. West J Med 1996;164(1):66.,

Vilke GM, Hayden SR: Intraorbital air in a patient status post-facial trauma. J Emerg Med
1996;14(1):77.

Vilke GM, Jacoby I, Manoguerra AS, Clark R: Disaster preparedness of poison control
centers. Clin Toxicol 1996;34(1):53-58,

Vilke GM: "No worries." J Emerg Med 1996;14(5):64 1-642.

Vilke GM, Honingford EA: Cervical spine epidural abscess in a patient with no predisposing
tisk factors. Ann Emerg Med 1996;27(6):777-780.

Vilke GM, Honingford EA: Diabetes and neck pain (Letter to the editor). Ann Emerg Med
1996;28(6):73 1.

Vilke GM, Wulfert EA: Case reports of two patients presenting with pneumothorax following
acupuncture. J Emerg Med 1997;15(2):155-157.

Vilke GM: Chest pain in an elderly patient. J Emerg Med 1997;15(4):523.

Chan TC, Vilke GM, Neuman T, Clausen JL: Restraint position and positional asphyxia,
Ann Emerg Med 1997;30(5):578-586.

Moss ST, Chan TC, Buchanan J, Dunford JV, Vilke GM: Outcome study of prehospital
patients signed out against medical advice by field paramedics. Ann Emerg Med 1998;
31(2):247-250.

Case 3:06-cv-00108 Document 348-1 F#é#-11/30/08 Page 47 of 76 PagelD #: 10908

 
Curriculum Vitae
Gary M, Vilke, M.D., FACEP, FAAEM

PUBLICATIONS, continued:

Articles

16. Chan TC, Vilke GM, Neuman T: Reexamination of custody restraint position and positional
asphyxia. Am J Forensic Med Patho! 1998;19(3):201-205.

17. Howard JD, Reay DT [32(1):116-117] / Chan TC, Vilke GM, Neuman T, Clausen J:
Positional asphyxia (Reply to letter to the editor). Ann Emerg Med 1998;32(1):117-118.

18. Vilke GM, Mahoney G, Chan TC: Postpartum coronary artery dissection, Ann Emerg Med
1998 332(2):260-262,

19, Rosa CM, Schwartz BL, Vilke GM: The prehospital electrocardiogram: Future standard
of care? Top Emerg Med 1998;20(3):23-29.

20. Davis DP, Bramwell KJ, Vilke GM, Cardall TY, Yoshida FE, Rosen P: Cricothyrotomy
technique: Standard versus the rapid four-step technique. J Emerg Med 1999;17(1):17-21.

21. Davis DP, Stephen KAC, Vilke GM: Inaccuracy in endotracheal tube verification using a
Toomey syringe. J Emerg Med 1999;17(1):35-38.

22. Friedman L, Vilke GM, Chan TC, Hayden SR, Guss DA, Krishel SJ, Rosen P: Emergency
department airway management before and after an emergency medicine residency. J Emerg
Med 1999;17(3):427-43 1, ;

23. Bramwell KJ, Davis DP, Cardall TY, Yoshida E, Vilke GM, Rosen P: Use of the Trousseau
dilator in cricothyrotomy. J Emerg Med 1999;17(3):433-436.

24, Cardall TY, Chan TC, Brady WJ, Perry JC, Vilke GM, Rosen P: Permanent cardiac
pacemakers: Issues relevant to the emergency physician, Part I. J Emerg Med 1999;17(3);
479-489,

25, Cardall TY, Brady WJ, Chan TC, Perry JC, Vilke GM, Rosen P: Permanent cardiac
pacemakers: Issues relevant to the emergency physician, Part II. J Emerg Med 1999;17(4):
697-709.

26, Vilke GM, Buchanan J, Dunford JV, Chan TC: Are heroin overdose deaths related to patient
release after prehospital treatment with naloxone? Prechosp Emerg Care 1999;3(3):183-186,

27. Roppolo LP, Vilke GM, Chan TC, Krishel S, Hayden SR, Rosen P:; Nasotracheal intubation
in the emergency department, revisited. J Emerg Med 1999;17(5):791-799,

28, Vilke GM: FOOSH injury with snuff box tenderness. J Emerg Med 1999;17(5):899-900.

29. Chan TC, Neuman T, Vilke GM, Clausen J, Clark RF: Metabolic acidosis in restraint-

associated cardiac arrest (Letter to the editor), Acad Emerg Med 1999;6(10):1075-1076.

Case 3:06-cv-00108 Document 348-1 Fil#d 11/30/08 Page 48 of 76 PagelD #: 10909

 
Curriculum Vitae
Gary M, Vilke, M.D., FACEP, FAAEM

PUBLICATIONS, continued:

 

Articles

30. Chan TC, Vilke GM, Bramwell KJ, Davis DP, Hamilton RS, Rosen P: Comparison of wire-

guided cricothyrotomy versus standard surgical cricothyrotomy technique. J Emerg Med
1999;17(6):957-962.

31. Reay DT, Howard JD [20(3):300-301] / Chan TC, Vilke GM, Neuman T: Restraint position
and positional asphyxia (Reply to letter to the editor), Am J Forensic Med Pathol 2000;
21(1):93.

32. Vilke GM, Chan TC, Guss DA: Use of a complete neurological examination to screen for
significant intracranial abnormalities in minor head injury. Am J Emerg Med 2000;18(2):
159-163,

33. Sloane CM, Vilke G: The other olive associated with vomiting, J Emerg Med 2000;
18(3):375.,

34, Vilke GM, Chan TC, Neuman T, Clausen JL: Spirometry in normal subjects in sitting, prone,
and supine positions. Respir Care 2000;45(4):407-410,

35. MaG, Vilke GM: Amoebic abscess, J Emerg Med 2000;18(4):465-466.

36. Davis DP, Bramwell KJ, Hamilton RS, Chan TC, Vilke GM: Safety and efficacy of the rapid
four-step technique for cricothyrotomy using a Bair Claw. J Emerg Med 2000;19(2):125-129.

37. Sloane C, Vilke GM, Chan TC, Hayden SR, Hoyt DB, Rosen P: Rapid sequence intubation in
the field versus hospital in trauma patients, J Emerg Med 2000;19(3):259-264,

38. Gerling MC, Davis DP, Hamilton RS, Morris GF, Vilke GM, Garfin SR, Hayden SR: Effects
of cervical spine immobilization technique and laryngoscope blade selection on an unstable
cervical spine in a cadaver model of intubation, Ann Emerg Med 2000;3 6(4):293-300.

39, Ochs M, Vilke GM, Chan TC, Moats T, Buchanan J: Successful prehospital airway
management by EMT-Ds using the Combitube. Prehosp Emerg Care 2000;4(4):333-337,

40. Vilke GM, Marino A, Iskander J, Chan TC: Emergency department patient knowledge of
medications, J Emerg Med 2000;19(4):327-330.

41. Chan TC, Vilke GM, Clausen J, Clark R, Schmidt P, Snowden T, Neuman T: The impact of
oleoresin capsicum spray on respiratory function in human subjects in the sitting and prone
maximal restraint positions, final report. NCJ 182433. Washington, DC: United States
Department of Justice, National Institute of Justice, 2000, 68 pages.

42. Gerling MC, Davis DP, Hamilton RS, Morris GF, Vilke GM, Garfin SR, Hayden SR:
Effect of surgical cricothyrotomy on the unstable cervical spine in a cadaver model of
intubation. J Emerg Med 2001;20(1):1-5.

Case 3:06-cv-00108 Document 348-1 Fiked 11/30/08 Page 49 of 76 PagelD #: 10910

 
Curriculum Vitae
Gary M. Vilke, M.D,, FACEP, FAAEM

PUBLICATIONS, continued:

Articles

43,

44,

45,

46.

47.

48.

49,

50.

51.

52,

33,

54,

55.

Vilke GM, Chan TC: Physician effect on out of hospital patients signing out against medical
advice. Pre-hospital Immediate Care 2001;5(1):38-40.

Davis DP, Kimbro TA, Vilke GM: The use of midazolam for prehospital rapid-sequence

intubation may be associated with a dose-related increase in hypotension, Prehosp Emerg
Care 2001 ;5(2):163-168,

Patel RJ, Vilke GM, Chan TC: The prehospital electrocardiogram. J Emerg Med 2001;
21(1):35-39,

Davis DP, Videen JS, Marino A, Vilke GM, Dunford JV, Van Camp SP, Maharam LG:
Exercise-induced hyponatremia in marathon runners: A two-year experience. J Emerg Med
2001321(1):47-57,

Seltzer AG, Vilke GM, Chan TC, Fisher R, Dunford JV: Outcome study of minors afler
parental refusal of paramedic transport. Prehosp Emerg Care 2001;5(3):278-283.

Vilke GM, Marino A, Fisher R, Chan TC: Estimation of pediatric patient weight by EMT-Ps.
J Emerg Med 2001;21(2):125-128.

Chan TC, Vilke GM, Pollack M, Brady WJ: Electrocardiographic manifestations: Pulmonary
embolism. J Emerg Med 2001;21(3):263-270,

Morgan J / Sloane C, Vilke GM: Rapid sequence intubation in the field versus hospital in
trauma patients (Reply to letter to the editor). J Emerg Med 2001 521(4):443-444,

Chan TC, Vilke GM, Clausen J, Clark R, Schmidt P, Snowden T, Neuman T: Pepper spray’s
effects on a suspect’s ability to breathe. Research in Brief (NCJ 188069), December 2001,
Washington, DC: United States Department of Justice, National Institute of Justice.

Vilke GM, Steen PJ, Smith AM, Chan TC: Out-of-hospital pediatric intubation by paramedics:
The San Diego experience. J Emerg Med 2002;22(1):71-74.

Chan TC, Vilke GM, Clausen J, Clark RF, Schmidt P, Snowden T, Neuman T: The effect of
oleoresin capsicum “pepper” spray inhalation on respiratory function. J Forensic Sci 2002,
47(2):299-3 04,

Vilke GM, Sharieff GQ, Marino A, Gerhart AE, Chan TC: Midazolam for the treatment of
out-of-hospital pediatric seizures. Prchosp Emerg Care 2002;6(2):215-217.

Vilke GM, Chan TC; Agitated delirium and sudden death (Letter to the editor). Prehosp
Emerg Care 2002;6(2):259-260.

Case 3:06-cv-00108 Document 348-1 Al@éd11/30/08 Page 50 of 76 PagelD #: 10911

 
Curriculum Vitae
Gary M. Vilke, M.D., FACEP, FAAEM

PUBLICATIONS, continued:

Articles

56.
57,
58.
59,
60.
61,

62.
63,

64.

65.

66.
67.

68.

69.

70.

Vilke GM, Fisher R, Chan TC: An evaluation of the risk for latex allergy in prehospital EMS
providers. J Emerg Med 2002;22(4):345-348.

Vilke GM: Food-dependent exercise-induced anaphylaxis. Prehosp Emerg Care 2002;
6(3):348-350.

Vilke GM, Snyder B: High pressure paint spray gun injury. J Emerg Med 2002;23(2):
203-204,

Chew GS, Vilke GM, Davis DP, Chan TC: T oomey'™ syringe aspiration may be inaccurate
in detecting esophageal intubation following gastric insufflation. J Emerg Med 2002;23(4):
337-340.

Vilke GM: Aeromedical Emergencies: Intro to the section. J Emerg Med 2002;23(1):49.

Vilke GM, Sardar W, Fisher R, Dunford JD, Chan TC: Follow-up of elderly patients who
refuse transport after accessing 9-1-1. Prchosp Emerg Care 2002;6(4):391-395.

Vilke GM: Great toe pain. J Emerg Med 2003;24(1):59-60.
Davis JM, Vilke GM: An elderly patient with intussusception. J Emerg Med 2003;24(2):221.

Austin T, Vilke GM, Nyhcim E, Kelly D, Chan TC: Safety and effectiveness of methohexital
for procedural sedation in the emergency department. J Emerg Med 2003;24(3):315-318.

Chan TC, Vilke GM, Smith 8, Sparrow W, Dunford JV: Impact of an after-hours on-call
emergency physician on ambulance transports from a county jail. Prehosp Emerg Care 2003;
7(3):327-331.

Vilke GM, Chan TC, Neuman T: Patient Restraint in EMS: Prehosp Emerg Care 2003;
7(3):417.

Deitch 8, Davis DP, Schatteman J, Chan TC, Vilke GM: The use of etomidate for prehospital
rapid-sequence intubation. Prehosp Emerg Care 2003;7(3):380-383.

Vilke GM, Sloane C, Smith AM, Chan TC: Assessment for deaths in out-of-hospital heroin
overdose patients treated with naloxone who refuse transport. Acad Emerg Med 2003;
10(8):893-896,

Davis DP, Valentine C, Ochs M, Vilke GM, Hoyt DB: The Combitube as a salvage airway
device for paramedic rapid sequence intubation, Ann Emerg Med 2003;42(5):697-704.

Calkins T, Chan TC, Clark RF, Stepanski B, Vilke GM: Review of prehospital sodium
bicarbonate use for cyclic antidepressant overdose, Emerg Med J 2003;20:483-486,

Case 3:06-cv-00108 Document 348-1 Flé+11/30/08 Page 51 of 76 PagelD #: 10912

 
Curriculum Vitae
Gary M. Vilke, M.D., FACEP, FAAEM

PUBLICATIONS, continued:

Articles

71. Vilke GM, Brown L, Skopland P, Simmons C, Guss DA: Approach to decreasing emergency
department ambulance diversion hours. J Emerg Med 2004;26(2):189-192.

72,  Vilke GM, Smith AM, Chan TC: Leaving against medical advice after out-of-hospital
naloxone: a closer look is needed. Acad Emerg Med 2004;11(3):323-324.

73. Vilke GM, Harrigan RA, Ufberg JW, Chan TC: Emergency evaluation and treatment of
priapism. J Emerg Med 2004;26(3):325-329,

74. Davis DP, Wold RM, Patel RJ, Tran AJ, Tokhi RN, Chan TC, Vilke GM: The clinical
presentation and impact of diagnostic delays on emergency department patients with spinal
epidural abscess. J Emerg Med 2004;26(3):285-29].

75, Vilke GM, Harrigan RA, Ufberg JW: Technical Tips: Intro to the section. J Emerg Med
2004;26(3):323.

76. Doney MK, Vilke GM: Large osteosarcoma not apparent on conventional radiography.

J Emerg Med 2004;26(3).351-352.

77. Chan TC, Ufberg J, Harrigan RA, Vilke GM: Nasal forcign body removal. J Emerg Med
2004;26(4):44 1-445.

78, Vilke GM, Smith AM, Upledger Ray L, Steen PJ, Murr PA, Chan TC: Airway obstruction
in children aged less than 5 years: The prehospital experience. Prehosp Emerg Care 2004;
8(2):196-199,

79. Wilke GM, Jin A, Davis DP, Chan TC: Prospective randomized study of viscous lidocaine
versus benzocaine in a GI cocktail for dyspepsia. J Emerg Med 2004;27(1):7-9.

80. Poste JC, Davis DP, Ochs M, Vilke GM, Castillo EM, Stern J, Hoyt DB: Air medical
transport of severely head-injured patients undergoing paramedic rapid sequence intubation.
Air Medical Journal 2004;23(4):36-40,

81. Chan TC, Neuman T, Clausen J, Eisele J, Vilke GM: Weight force during prone restraint and
respiratory function, Am J Forensic Med Pathol 2004;25(3):185-189.

82. Ufberg JW, Vilke GM, Chan TC, Harrigan RA: Anterior shoulder dislocations: Beyond
{raction-countertraction. J Emerg Med 2004;27(3):301-306.

83, Vilke, GM: San Diego County wildfires: Perspective of county officials. Disaster Manag

Response 2004 Oct-Dec;2(4):99.

Case 3:06-cv-00108 Document 348-1 Fil@d 11/30/08 Page 52 of 76 PagelD #: 10913

 
Curriculum Vitae
Gary M. Vilke, M.D,, FACEP, FAAEM

PUBLICATIONS, continued:

 

Articles

84.

85.

86.

87,

88.

89.

90.

91,

92.

93.

94,

Vilke, GM, Castillo EM, Metz MA, Upledger Ray L, Murrin PA, Lev R, Chan TC:
Community trial to decrease ambulance diversion hours: The San Diego County patient
destination trial, Ann Emerg Med 2004;44(4):295-303.

Vilke GM, Stepanski BM, Ray LU, Lutz MW, Murrin PA, Chan TC: 9-1-1 responses for
shopping cart and stroller injuries. Pediatr Emerg Care 2004;20(10):660-663.

Vilke GM, Castillo EM, Ray LU, Murrin PA, Chan TC: Evaluation of pediatric glucose
monitoring and hypoglycemic therapy in the field. Pediatr Emerg Care 2005;21(1):1-5,

Vilke GM, Chan TC, Dunford JV, Metz M, Ochs G, Smith A, Fisher R, Poste JC,
McCallum-Brown L, Davis DP: The three-phase model of cardiac arrest as applied to

ventricular fibrillation in a large, urban emergency medical services system. Resuscitation
2005;64(3):34 1-346.

Davis DP, Peay J, Sise MJ, Vilke GM, Kennedy F, Eastman AB, Velky T, Hoyt DB:
The impact of prehospital endotracheal intubation on outcome in moderate to severe traumatic
brain injury. J Trauma 2005;58(5):933-939,

Davis DP, Grossman K, Kiggins DC, Vilke GM, Chan TC: The inadvertent administration of
anticoagulants to ED patients ultimately diagnosed with thoracic aortic dissection. Am J
Emerg Med 2005;23(4):439-442,

Davis DP, Pettit K, Rom CD, Poste JC, Sise MJ, Hoyt DB, Vilke GM: The safety and
efficacy of prehospital needle and tube thoracostomy by acromedical personnel. Prehosp
Emerg Care 2005;9(2):191-197,

Davis DP, Peay J, Serrano JA, Buono C, Vilke GM, Sise MJ, Kennedy F, Eastman AB,
Velky T, Hoyt DB: The impact of acromedical response to patients with moderate to severe
traumatic brain injury. Ann Emerg Med 2005;46(2):115-122.

Davis DP, Vadeboncoeur TF, Ochs M, Poste JC, Vilke GM, Hoyt DB: The association
between field glasgow coma scale score and outcome in patients undergoing paramedic rapid
sequence intubation. J Emerg Med 2005;29(4):391-397.

Davis DP, Wiesner C, Chan TC, Vilke GM: The efficacy of nebulized albuterol/ipratropium
bromide versus albuterol alone in the prehospital treatment of suspected reactive airways
disease. Prehosp Emerg Care 2005;9(4):386-390.

Davis DP, Douglas DJ, Smith W, Sise MJ, Vilke GM, Holbrook TL, Kennedy F, Eastman AB,
Velky T, Hoyt DB: Traumatic brain injury outcomes in pre- and post-menopausal females
versus age-matched males. J Neurotrauma 2006;23(2): 140-148.

Case 3:06-cv-00108 Document 348-1 Filét+11/30/08 Page 53 of 76 PagelD #: 10914

 
Curriculum Vitae
Gary M, Vilke, M.D., FACEP, FAAEM

PUBLICATIONS, continued:

 

Articles

95.

96,

97,

98.

99,

100.

101.

102,

103.

104.

105.

106.

Davis DP, Idris AH, Sise MJ, Kennedy F, Brent Eastman A, Velky T, Vilke GM, Hoyt DB:
Early ventilation and outcome in patients with moderate to severe traumatic brain injury.
Crit Care Med 2006;34(4):1202-1208.

Dunford JV, Castillo EM, Chan TC, Vilke GM, Jenson P, Lindsay SP: Impact of the San
Diego Serial Inebriate Program on use of emergency medical resources. Ann Emerg Med
2006347(4):328-336,

Vadeboncoeur T, Davis DP, Ochs M, Poste JC, Hoyt DB, Vilke GM: The ability of
paramedics to predict aspiration in patients undergoing prehospital rapid sequence intubation.
J Emerg Med 2006;30(2):13 1-136.

Davis DP, Serrano JA, Vilke GM, Sise MJ, Kennedy f', Eastman AB, Velky T, Hoyt DB:
The predictive value of field versus arrival Glasgow Coma Scale Score and TRISS calculations
in moderate-to-severe traumatic brain injury. J Trauma 2006;60(5):985-990.

Ramanujam P, Vilke GM: Prehospital management of the difficult airway. Clinical
Foundations 2006;7-11.

Vilke GM, Tornabene SV, Stepanski B, Shipp HE, Upledger Ray L, Metz MA, Vroman D,
Anderson M, Murrin PA, Davis DP, Harley J: Paramedic self-reported medication errors.
Prehosp Emerg Care 2006; 10(4):457-462.

Goldstein EH, Wradecky G, Vilke GM, Chan TC: Impact ofa standardized protocol to address

methicillin-resistant staphylococcus aureus skin infections at a large, urban county jail system.
J Correctional Health Care 2006;12(3):181-188.

Chappell 8, Vilke GM, Chan TC, Harrigan RA, Ufberg JW: Peripheral venous cutdown.
J Emerg Med 2006;31(4):411-416.

Lev R, Vilke G, Dunford J. San Diego Regional STEMI Summit. San Diego Physician.
2006;4:11-13.

Vilke GM, Smith AM, Stepanski B, Shipp HE, Upledger Ray L, Murrin PA, Chan TC,
Impact of the San Diego County firestorm on Emergency Medical Services. Prehosp Dis Med
2006;21(5):353-358.

Soroudi A, Shipp HE, Stepanski BM, Ray LU, Murrin PA, Chan TC, Davis DP, Vilke GM.
Adult foreign body airway obstruction in the prehospital setting. Prchosp Emerg Care. 2007
Jan-Mar;11(1):25-9,

Michalewicz BA, Chan TC, Vilke GM, Levy SS, Neuman TS, Kolkhorst FW. Ventilatory
and metabolic demands during aggressive physical restraint in healthy adults. J Forensic Sci
2007;52(1):1 71-175,

Case 3:06-cv-00108 Document 348-1 Fil@d11/30/08 Page 54 of 76 PagelD #: 10915

 
Curriculum Vitae
Gary M. Vilke, M.D., FACEP, FAAEM

PUBLICATIONS, continued:

Articles

107.

108.

109,

110.

111.

112.

113,

114.

115,

116.

117.

118.

Vilke GM, Tornabene SV, Stepanski B, Shipp HE, Upledger Ray L, Metz MA, Vroman D,
Anderson M, Murrin PA, Davis DP, Harley J: Paramedic self-reported medication errors.
Prehosp Emerg Care 2007;11(1):80-84,

Dolkas L, Stanley C, Smith AM, Vilke GM. Deaths associated with choking in San Diego
counly. J Forensic Sci. 2007;52(1):176-9,

Harrigan RA, Chan TC, Moonblatt 8, Vilke GM, Ufberg JW. Temporary transvenous
pacemaker placement in the Emergency Department. J Emerg Med 2007;32(1):105-111.

Davis DP, Kene M, Vilke GM, Sise MJ, Kennedy F, Eastman AB, Velky T, Hoyt DB. Head-
Injured Patients Who "Talk and Die": The San Diego Perspective. J Trauma. 2007
Feb;62(2):277-281.

Ma G, Davis DP, Schmitt J, Vilke GM, Chan TC, Hayden SR. The sensitivity and specificity
of transcricothyroid ultrasonography to confirm endotracheal tube placement in a cadaver
model. J Emerg Med 2007;32(4):405-414,

Davis DP, Fisher R, Aguilar 8, Metz M, Ochs G, McCallum-Brown L, Ramanujam’ P, Buono
C, Vilke GM, Chan TC, Dunford JV. The feasibility of a regional cardiac arrest receiving
system. Resuscitation. 2007;74(1):44-51.

Levine SD, Sloane CM, Chan TC, Dunford JV, Vilke GM. Cardiac monitoring of human
subjects exposed to the taser. J Emerg Med. 2007;33(2):1 13-7,

Firestone D, Wos A, Killeen JP, Chan TC, Guluma K, Davis DP, Vilke GM. Can urine
dipstick be used as a surrogate for serum creatinine in emergency department patients who
undergo contrast studies? J Emerg Med. 2007;33(2):119-22.

Khaleghi M, Loh A, Vroman D, Chan TC, Vilke GM. The effects of minimizing ambulance
diversion hours on emergency departments. J Emerg Med. 2007;33(2):155-9.

Davis DP, Graydon C, Stein R, Wilson 8, Buesch B, Berthiaume S, Lee D, Rivas J, Vilke
GM, Leahy DR. The positive predictive value of paramedic versus emergency physician
interpretation of the prehospital 12-lead elecirocardiogram. Prchosp Emerg Care

2007; 11(4):399-402,

Vilke GM, Chan TC. Less lethal technology: medical issues, Policing 2007;30(3):34 1-357.
Vilke GM, Sloane CM, Bouton KD, Kolkhorst FW, Levine SD, Neuman TS, Castillo EM,

Chan T Physiological Effects of a Conducted Electrical Weapon on Human Subjects. Ann
Emerg Med. 2007:.50(5):569-75.

Case 3:06-cv-00108 Document 348-1 Fiféd 11/30/08 Page 55 of 76 PagelID #: 10916

 
Curriculum Vitae
Gary M. Vilke, M.D., FACEP, FAAEM

PUBLICATIONS, continued:

 

Articles

119,

120.

121,

122.

123.

124.

125.

126.

127,

128,

129.

Conroy C, Eastman AB, Stanley C, Vilke GM, Vaughan T, Hoyt DB, Pacyna S, Fatal
Positional Asphyxia Associated With Rollover Crashes. Am J Forensic Med Pathol.
2007;28(4):330-332.

Vilke GM, Sloane C, Levine 8, Neuman T, Castillo E, Chan TC. Twelve-lead
electrocardiogram monitoring of subjects before and aficr voluntary exposure to the Taser
X26.Am J Emerg Med. 2008;26(1):1-4.

Sloane CM, Chan TC, Vilke GM. Thoracic Spine Compression Fracture afler TASER
Activation. J Emerg Med. 2008:34(3):283-5.

Sloane C, Vilke GM. Death by Tasercution Rare, Emergency Medicine News. 2008;30(3):7,

Chan TC, Harrigan RA, Ufberg J, Vilke GM. Mandibular Reduction. J Emerg Med. 2008 Jan
31; [Epub ahead of print]

Tornabene SV, Deutsch R, Davis DP, Chan TC, Vilke GM, Evaluating the use and timing of
opioids for the treatment of migraine headaches in the emergency department, J Emerg Med.
2008 Feb 13; [Epub ahead of print]

Vilke GM, Ufberg JW, Harrigan RA, Chan TC. Evaluation and Treatment of Acute Urinary
Retention, J Emerg Med, 2008 Feb 13; [Epub ahead of print]

Sloane CM, Chan TC, Levine 8D, Dunford JV, Neuman T, Vilke GM. Serum Troponin J
Measurement of Subjects Exposed to the Taser X-26(R). J Emerg Med. 2008 Feb 23; [Epub
ahead of print]

Tornabene S, Vilke GM. Gradenigo's Syndrome, J Emerg Med. 2008 Ieb 23; [Epub ahead of
print]

Vilke GM, Sloane CM, Neuman T, Castillo EM, Chan TC, Kolkhorst F. In reply to Taser
safety remains unclear. Ann Emerg Med. 2008 Jul;52(1):85-86.

Sloane CM, Vilke GM. Medical Aspects of Less-Lethal Weapons. Law Enforcement
Executive Forum, 2008;8(4):8 1-94,

Case 3:06-cv-00108 Document 348-1 Fif@d 11/30/08 Page 56 of 76 PagelD #: 10917

 
Curriculum Vitae
Gary M, Vilke, M.D., FACEP, FAAEM

Case 3:06-cv-00108 Document 348-1 Fiféd 11/30/08 Page 57 of 76 PagelD #: 10918

 
Curriculum Vitae
Gary M. Vilke, M.D., FACEP, FAAEM

PUBLICATIONS, continued:

 

Abstracts

1,

10.

11.

12.

13.

Chan TC, Vilke GM, Hayden SR: Structured curriculum in domestic violence and child
abuse for emergency medicine residents. Acad Emerg Med 1996;3(5):511.

Moss ST, Vilke GM, Chan TC, Dunford JD: Outcomes study of out-of-hospital patients
signed out against medical advice by field paramedics. Acad Emerg Med 1997;4(5):413.

Chan TC, Vilke GM, Neuman TS, Clausen JL: Does the hobble restraint position result in
respiratory compromise? Acad Emerg Med 1997;4(5):459.

Evans SD, Fisher RP, Vilke GM, Chan TC: Accuracy of urban field paramedics estimating
blood loss. Acad Emerg Med 1997;4(5):459.

Davis DP, Bramwell KJ, Vilke GM, Rosen P: Cricothyrotomy technique: Standard technique
versus the rapid four-step technique. Acad Emerg Med 1997;4(5):488.

Bramwell K, Vilke G, Davis D, Rosen P: Cricothyrotomy technique: Use of the Trousseau
dilator for initial widening and subsequent stabilization of the opening during endotracheal
tube passage. Ann Emerg Med 1997;30(3):419.

Neuman TS, Vilke GM, Chan TC, Clausen JL: Changes in pulmonary function associated
with position. Undersea & Hyperbaric Med 1997;24(Suppl):13.

Moats T, Chan TC, Ochs M, Buchanan J, Vilke GM: Successful out-of-hospital airway

management by emergency medical technician-Is using the Combitube. Acad Emerg Med
1998;5(5):388.

Hamilton RS, Davis DP, Chan TC, Vilke GM, Hayden SR: The effect of blade type and
cervical spinal immobilization on laryngoscopy in a cadaver model of intubation. Acad
Emerg Med 1998;5(5):397.

Vilke GM, Chan TC, Neuman T, Clausen JL: The effect of body position on pulmonary
function. Acad Emerg Med 1998;5(5):397,

Friedman L, Vilke GM, Chan TC, Hayden SR, Krishel SJ, Rosen P: Emergency department
airway management before and after the start of an emergency medicine residency training
program. Acad Emerg Med 1998;5(5):444,

Davis DP, Bramwell KJ, Hamilton RS, Chan TC, Vilke GM: Cricothyrotomy spced and
safety: A comparison between standard open technique and rapid four-step technique using
a novel device, Acad Emerg Med 199855(5):483.

Davis DP, Fisher RP, Chan TC, Dunford JV, Vilke GM: Rapid-sequence induction for
out-of-hospital intubations: A multimedia course designed for paramedics. Acad Emerg Med
199835(5):502.

Case 3:06-cv-00108 Document 348-1 Fif8d 11/30/08 Page 58 of 76 PagelD #: 10919

 
Curriculum Vitae
Gary M. Vilke, M.D., FACEP, FAAEM

PUBLICATIONS, continued:

 

Abstracts

14. Chan TC, Vilke GM, Buchanan J, Anderson M: Patient ethnicity and age in prehospital
emergency ambulance use and acuity rates. Prehospital Emerg Care 1998;2(3):223.

15. Marino AT, Vilke GM, Chan TC, Buchanan J: Precision of prehospital diazepam dosing for
children in status epilepticus. Prehospital Emerg Care 1998;2(3):232,

16. Marino AT, Vilke GM, Chan TC, Buchanan J: Comparison of prehospital IV and rectal
diazepam for the treatment of pediatric seizures. Prehospital Emerg Care 1998;2(3):233.

17, Vilke GM, Chan TC, Buchanan J, Dunford JV: Are opiate overdose deaths related to patient
release afier prehospital naloxone? Prehospital Emerg Care 1998;2(3):236.

18. Vilke GM, Dunford JV, Buchanan J, Chan TC: Are opiate overdose deaths related to patient
release after naloxone? Ann Emerg Med 1998;32(3)Part 2:86.

19, Gerling MC, Hamilton RS, Davis DP, Morris GF, Vilke GM, Hayden SR, Garfin SR: Effects
of cervical spine immobilization technique and laryngoscope blade selection on an unstable

cervical spine injury in a cadaver model of intubation. Ann Emerg Med 1998;32(3)Part
2:813.,

20. Marino AT, Chan TC, Buchanan J, Vilke GM: Precision of prehospital diazepam dosing for
children in status epilepticus. Ann Emerg Med 1998;32(3)Part 2:530,

21. Marino AT, Vilke GM, Buchanan J, Chan TC: Comparison of prehospital intravenous and
rectal diazepam for the treatment of pediatric seizures. Ann Emerg Med 1998;32(3)Part 2:S30.

22. Davis D, Bramwell K, Hamilton R, Chan T, Vilke G: The fresh-frozen cadaver free-larynx
model for cricothyrotomy training. Ann Emerg Med 1998;32(3)}Part 2:534-S35,

23, Sloane C, Chan TC, Vilke GM, Hayden SR, Krishel SJ, Rosen P: Rapid sequence induction
intubation of trauma patients in the prehospital versus hospital setting. Ann Emerg Med 1998;
32(3)Part 2:S50.

24, Chan TC, Bramwell K, Hamilton R, Davis D, Vilke GM: Comparison of Meicker
cricothyrotomy versus standard technique in human cadaver model. Ann Emerg Med 1998;
32(3)Part 2:850-S51,

25. Chew GS, Chan TC, Bramwell Ik, Davis DP, Vilke GM: Does the syringe esophageal
detector device accurately detect an esophageal intubation following gastric distention from
air insufflation? Ann Emerg Med 1998;32(3)Part 2:551.

26. Chan TC, Vilke GM, Kramer M, Buchanan J, Dunford J: Does a complete neurologic
examination adequately screen for significant intracranial abnormalities in minor head injury?

J Emerg Med 1998;16(5):804.

Case 3:06-cv-00108 Document 348-1 Fil§d 11/30/08 Page 59 of 76 PagelD #: 10920

 
Curriculum Vitae
Gary M, Vilke, M.D., FACEP, FAAEM

PUBLICATIONS, continued:

Abstracts

27.

28,

29,

30.

31,

32.

33.

34.

35.

36.

37,

38,

39.

Chan TC, Vilke GM, Kramer M, Buchanan J, Dunford J: Does GCS score affect prehospital
intubation success rates in trauma patients? J Emerg Med 1998;16(5):804-805,

Vilke GM, Chan TC, Guss DA: Prospective study on the utility of head CT scan in patients
with minor head injury and GCS scores of 15. -J] Emerg Med 1998;16(6):984.

Chan TC, Vilke GM, Ray LU, Anderson ME: Use of prehospital crash injury data to assess
regional automobile safety restraint use. Prehospital Emerg Care 1999;3(1):83-84.

Vilke GM, Chan TC: Effect of a physician speaking directly to prehospital patients who want
to sign out against medical advice. Prehospital Emerg Care 1999;3(1):90,

Marino A, Vilke GM, Chan TC: Urban paramedics experience, comfort, and accuracy in the
estimation of pediatric weights. Prehospital Emerg Care 1999;3(1):92.

Chan TC, Bramwell KJ, Davis DP, Hamilton RS, Vilke GM: Comparison of wire-guided
percutancous Melcker cricothyrotomy versus standard cricothyrotomy technique in human
cadaver models. Acad Emerg Med 1999;6(5):5 14.

Ma G, Hayden SR, Chan TC, Vilke GM, Schmitt J, Chan D: Using ultrasound to visualize
and confirm endotracheal intubation, Acad Emerg Med 1999;6(5):515.

Hamilton RS, Davis DP, Nordt SP, Vilke GM, Chan TC: Lidocaine administration through
an esophageally placed Combitube in a canine model. Acad Emerg Med 1999;6(5):519-520,

Chew GS, Chan TC, Bramwell K, Davis DP, Vilke GM: Does gastric distention from air
insufflation affect the accuracy of the syringe esophageal detector device in detecting
esophageal intubation? Acad Emerg Med 1999;6(5):520.

Vilke GM, Marino A, Iskander J, Chan TC: Knowledge of prescribed medications by
emergency department patients. Acad Emerg Med 1999;6(5):539.

Davis D, Marino A, Vilke G, Dunford J, Videen J: Hyponatremia in marathon runners:
Experience with the inaugural rock ‘n’ roll marathon. Ann Emerg Med 1999;34(4)Part 2:
540-841,

Davis DP, Kimbro T, Vilke GM: The use of midazolam for prehospital rapid-sequence
intubation may be associated with a dose-related increase in hypotension. Prehosp Emerg
Care 2000;4(1):90.

Marino AT, Sharieff G, Gerhart AE, Chan TC, Vilke GM: The efficacy and complication rate
of prehospital midazolam for the treatment of pediatric seizures. Prchosp Emerg Care 2000,
4(1):92.

Case 3:06-cv-00108 Document 348-1 Filéld11/30/08 Page 60 of 76 PagelID #: 10921

 
Curriculum Vitae
Gary M. Vilke, M.D., FACEP, FAAEM

PUBLICATIONS, continued:

Abstracts
40, Eiscle TW, Chan T, Vilke G, Neuman T, Clausen J: Comparison of respiratory function in

41,

42.

43,

44,

45.

46.

47,

48.

49,

20.

SI.

the prone maximal restraint position with and without additional weight force on the back.
Proceedings of the American Acadamy of Forensic Sciences 2000; V1:202.

Chan TC, Vilke GM, Neuman T, Clark RF, Clausen J: Effect of oleoresin capsicum.
Acad Emerg Med 2000;7(5):471.

Vilke GM, Marino A, Chan TC: Survey of paramedics for latex allergy risk factors.
Acad Emerg Med 2000;7(5):483,

Schmitt JM, Ma G, Hayden SR, Vilke G, Chan T: Suprasternal versus cricothyroid ullrasound
probe position in the confirmation of endotracheal tube placement by bedside ultrasound.
Acad Emerg Med 2000;7(5):526,

Schmitt JM, Ma G, Hayden SR, Vilke G, Chan T: Use of new air absorbing ultrasound
contrast in the confirmation of endotracheal tube placement by bedside ultrasound. Acad
Emerg Med 2000;7(5):526.

Wold RM, Davis DP, Patel R, Chan TC, Vilke GM: Original clinical decision guideline to
identify patients with spinal epidural abscess. Acad Emerg Med 2000;7(5):574-575.

Ma G, Chan TC, Vilke GM, Schmitt J, Hayden SR: Confirming endotracheal intubation using
ultrasound. Ann Emerg Med 2000;36(4)Part 2:520-S21,

Deitch S, Vilke GM, Marino A, Vroman D, Chan TC: Effect of prehospital use of
nitroglycerine on EKG findings in patients with chest pain. J Emerg Med 2001;20(3):321,

Chan TC, Vilke GM, Neuman T, Clausen J, Schmidt P, Snowden T, Clark RF: Does
oleoresin capsicum “pepper spray” exposure impact cardiovascular function in human
subjects? Acad Emerg Med 2001;8(5):442.

Chan TC, Vilke GM, Bender 8, Saldamando V, Smith J, Dunford JV: Effect of a multi-
disciplinary community homeless outreach team on emergency department visits by homeless
alcoholics. Acad Emerg Med 2001;8(5):486.

Davis DP, Ochs M, Uoyt DB, Vilke GM, Dunford TV: The use of the Combitube as a salvage
airway device for paramedic rapid-sequence intubation. Acad Emerg Med 2001;8(5):500.

Vilke GM, Simmons C, Brown L, Skogland P, Guss DA: Approach to decreasing emergency
department ambulance diversion hours. Acad Emerg Med 2001;8(5):526,

Case 3:06-cv-00108 Document 348-1 FHé@d-11/30/08 . Page 61 of 76 PagelD #: 10922

 
Curriculum Vitae
Gary M., Vilke, M.D., FACEP, FAAEM

PUBLICATIONS, continued:

Abstracts

52.

53.

54.

55.

56,

57,

28.

60.

61.

62,

63.

Chan TC, Vilke GM, Clausen J, Clark R, Schmidt P, Snowden T, Neuman T: Impact of
oleoresin capsicum spray on respiratory function in human subjects in the sitting and prone
maximal restraint positions positions, 1998 (computer filc). Inter-university Consortium for
Political and Social Research (distributor), 2001,

Cardall TY, Glasser JL, Davis D, Vilke GM: Cricothyrotomy training in emergency medicine
residencies. Ann Emerg Med 2001;38(4):89.

Chan TC, Dunford JV, Vilke GM, Hix A, Schnell S, Liening J, Edgar J: Effect of a multi-
disciplinary serial inebriate program on emergency department visits by chronic alcoholics in
two urban area hospitals. Ann Emerg Med 2001;38(4):833.

Valentine C, Davis D, Ochs M, Hoyt D, Bailey D, Vilke G: The use of the Combitube as a
salvage airway device for paramedic rapid-sequence intubation. Prehosp Emerg Care
2002;6(1):144.

Chan TC, Dunford JV, Smith 8, Sparrow W, Vilke GM: Impact of an on-call physician on
emergency 911 transports from a county jail. Prehosp Emerg Care 2002;6(1):162.

Vilke GM, Sardar W, Fisher R, Dunford JV, Chan TC: Follow-up of elderly patients who
refuse transport after accessing 9-1-1. Prehosp Emerg Care 2002;6(1):164.

Vilke GM, Steen PJ, Smith AM, Chan TC: Out-of-hospital pediatric intubation by
paramedics; The San Dicgo experience, Prehosp Emerg Care 2002;6(1):165.

Jin AS, Chan T, Davis D, Vilke G: Prospective randomized study of viscous lidocaine vs
Hurricaine in a GI cocktail for dyspepsia. Acad Emerg Med 2002;9(5):38 1-382.

Jenson P, Chan TC, Vilke GM, Leining J, Schnell R, Chester R, Berthelet J, Marcotte A,
Simmons C, Kelly D, Dunford J: Impact of a multi-disciplinary, community serial inebriate
program on ED visits by chronic alcoholics to three urban emergency departments, Acad
Emerg Med 2002;9(5):389.

Austin T, Chan TC, Nyheim E, Kelly D, Vilke GM: Does the addition of parenteral opiate
pre-medication increase risk for complications when combined with methohexital for
moderate procedural sedation in the ED? Acad Emerg Med 2002;9(5):407.

Glasser JL, Cardall TY, Podboy M, Vilke GM: Out-of-hospital pediatric rapid-sequence
intubation by an acromedical provider. Acad Emerg Med 2002;9(5);422-423,

Chan TC, Austin T, Nyheim E, Kelly D, Vilke GM: Does parenteral opiate premedication
increase risk of complications when combined with methohexital for orthopedic reductions in
the emergency department? Ann Emerg Med 2002;40(4):57-S8.

Case 3:06-cv-00108 Document 348-1 FH@é#-11/30/08 Page 62 of 76 PagelD #: 10923

 
Curriculum Vitae
Gary M, Vilke, M.D., FACEP, FAAEM

PUBLICATIONS, continued:

 

Abstracts

64.

65.

66.

67.

68.

69,

70,

71.

72,

73.

74.

75.

Davis D, Tokhi R, Wold R, Patel R, Chan T, Vilke G: The clinical presentation and outcome
of emergency department patients with spina! epidural abscess. Ann Emerg Med 2002;40(4):
5103.

Vilke GM, Loh A: A prospective study of minimizing ambulance diversion and its effects on
emergency department census and hospital admissions. Prehosp Emerg Med 2003;7(1):171.

Buono C, Vilke GM, Schwartz B, Brown L, Swabb C: Identifying reasons for and outcomes

of patients who access 9-1-1, then sign out against medical advice. Prehosp Emerg Med
200337(1):172.

Vilke GM, Sloane C, Smith AM, Chan TC: Assessment for deaths in prehospital heroin
overdose patients treated with Naloxone who refuse transport. Prchosp Emerg Med
200337(1):190.

Vilke GM, Lev R, Castillo EM, Murrin PA, Chan TC: prospective countywide trial to
decrease ambulance diversion hours. Acad Emerg Med 2003;10(5):465.

Tran A, Davis DP, Wold RM, Patel R, Chan TC, Vilke GM: The use of risk factor
assessment to sercen for spinal epidural abcess in emergency department patients with spine
pain. Acad Emerg Med 2003;10(5):569,

Chan TC, Kelso D, Dunford JV, Vilke GM: Can trained health educators provide screening,
bricf intervention and referral services in an academic teaching hospital emergency
department? Acad Emerg Med 2003;10(5):515.

Vilke GM, Lev R, Castillo EM, Metz MA, Murrin PA, Chan TC: The effect of decreasing
ambulance diversion hours on emergency department interfacility transfers. Ann Emerg Med
2003 ;42(4):86.

Vilke GM, Lev R, Castillo EM, Metz MA, Murrin PA, Chan TC: San Dicgo County
improved patient destination trial to decrease emergency department diversion hours and
diverted patients. Ann Emerg Med 2003;42(4):S2,

Chan TC, Clausen J, Neuman T, Eisele JW, Vilke GM: Does weight force during physical
restraint cause respiratory compromise? Ann Emerg Med 2003;42(4):517,

Davis D, Grossman K, Vilke G, Kiggins D, Chan TC: Inadvertent anticoagulation of
emergency department patients with aortic dissection. Ann Emerg Med 2003;42(4):899.

Vilke GM, Wiesner C, Davis DP, Chan TC: The efficacy of adding ipratropium bromide to
albuterol for the prehospital treatment of reactive airways disease. Prehosp Emerg Care 2004;
8(1):112.

Case 3:06-cv-00108 Document 348-1 FHéd-11/30/08 Page 63 of 76 PagelD #: 10924

 
Curriculum Vitae
Gary M, Vilke, M.D,, FACEP, FAAEM

PUBLICATIONS, continued:

 

Abstracts

76. Vilke GM, Vadeboncoeur T, Davis DP, Poste JC, Ochs M, Hoyt DB: The predictive value of
paramedic assessment of aspiration in patients undergoing RSI. Prehosp Emerg Care 2004;
8(1):88-89,

77, Vilke G, Castillo E, Metz M, Murrin P, Ray LU, Lev R, Chan T: Community trial to decrease
ambulance diversion of patients and hours. Prehosp Emerg Care 2004;8(1):84.

78. Chan TC, Killeen JP, Kelly D, Vilke GM, Guss DA: Impact of a rapid emergency department
entry and an accelerated care initiative on patient wait times and length of stay. Acad Emerg
Med 2004;11(5):485.

79, Davis DP, Vadeboncocur TF, Poste JC, Vilke GM, Ochs M, Hoyt DB: The use of field
Glasgow coma scale to screen severely head-injured patients to undergo paramedic rapid
sequence intubation, Acad Emerg Med 2004;11(5):492.

80, Patel RJ, Davis D, Vilke GM, Chan TC: Comparison of wire-guided cricothyrotomy
technique with and without balloon-cuffed endotracheal tubes vs. standard surgical
cricothyrotomy, Acad Emerg Med 2004;11(5):522.

80. Vilke GM, Chan TC, Dunford JV, Poste JC, Metz M, Ochs G, Smith A, Fisher R,
McCallum-Brown L, Davis DP: The three-phase model of cardiac arrest as applicd to
ventricular fibrillation in a large, urban emergency medical services system. Acad Emerg
Med 2004;11(5):604.

82, Hutton &, Swanson E, Vilke G, Davis D, Jones 8, Hoogeveen B: Cricothyrotomies by air
medical providers in 2853 patient intubations. Air Med J 2004;23(5):33.

83. Davis D, Buono C, Vilke G, Sise M, Eastman B, Kennedy F, Vilke T, Hoyt D: The efficacy
of air medical response to patients with moderate to severe traumatic brain injury. Air Med J
2004 ;23(5):31.

84. Hutton K, Swanson E, Vilke G, Davis D, Jones 8, Hoogeveen B: Laryngoscopic visualization
grade predicts difficult intubations by air medical crews in the prehospital setting. Air Med J
2004;23(5):30.

85, Hulton K, Swanson E, Vilke G, Davis D, Jones 8, Hoogeveen B: Success and failure rates of
RSI versus non-RSI intubations by air medical providers in 2853 patients. Air Med J 2004;
23(5):30.

86. Metz M, Marcotte A, Vilke GM: The effect of decreasing ambulance diversion hours on ed
interfacility transfers. J Emerg Nurs 2004;30(5):41 1.’

87. Metz M, Murrin P, Vilke GM: Community trial to decrease ambulance diversion hours: the
San Dicgo county patient destination trial. J Emerg Nurs 2004;30(5):410.

Case 3:06-cv-00108 Document 348-1 Fibsd 11/30/08 Page 64 of 76 PagelD #: 10925

 
Curriculum Vitae
Gary M. Vilke, M.D., FACEP, FAAEM

PUBLICATIONS, continued:

Abstracts

88. Metz M, Murrin P, Vilke GM: The three-phase EMS cardiac arrest model for ventricular
fibrillation, J Emerg Nurs 2004;30(5):405.

89. Vilke GM, Murrin P, Gardina L, Upledger Ray L, Stepanski B, Chan TC: Impact of a new
booster seat law. Ann Emerg Med 2004;44(4):839-S40,

90. Vilke GM, Marcotte A, Metz M, Upledger Ray L: Pain management in the out-of-hospital
setting. Ann Emerg Med 2004;44(4):S63.

91. Vilke GM, Murrin PA, Marcotte A, Upledger RL: Impact of the San Diego County firestorm
on emergency medical services. Ann Emerg Med 2004;44(4):S102-S103.

92. Davis DP, Pettit K, Poste JC, Vilke GM: The efficacy of out-of-hospital needle and tube
thoracostomy in major trauma victims, Ann Emerg Med 2004;44(4):S103,

_ 93. Buono CJ, Davis DP, Vilke GM, Stepanski B. Esophageal Intubation in an EMS system: a
six-year experience. Prehosp Emerg Care 2005; 9(1):113.
94. Dunford JV, Vilke GM, Chan TC. Utilization of EMS and hospital resources by serial
inebriate program (SIP) clients. Prehosp Emerg Care 2005; 9(1):116.

95. Davis DP, Serrano JA, Buono CJ, Vilke GM, Sise MJ, Hoyt DB. The predictive value of field
and arrival Glasgow coma score in moderate-to-severe brain injury. Prehosp Emerg Care
2005; 9(1):124.

96. Vilke GM, Castillo EM, Upledger-Ray L, Davis DP, Murrin PA, Kennedy F, Cox 8, Coimbra
R. Evaluation of paramedic field triage of injured patients to trauma centers and emergency
departments. Prehosp Emerg Care 2005; 9(1):125.

97. Vilke GM, Harley J, Metz M, Stepanski B, Vroman D, Anderson M, Shipp H. Paramedic
self-reported medication errors in an anonymous survey. Prehosp Emerg Care 2005; 9(1):127.

98. Bush J, Chan TC, Killecn JP, Vilke GM. The effect of changing from a latex agglutination D-
Dimer to an ELISA D-Dimer on emergency physicians ordering imaging studies practices to
evaluate for pulmonary embolism. Acad Emerg Med 2005;12(5):41,

99, Vilke GM, Michalewicz B, Kolkhorst FW, Neuman T, Chan TC. Does weight force during
physical restraint cause respiratory compromise? Acad Emerg Med 2005;12(5):16.

100, Levine SD, Sloane C, Chan TC, Vilke GM, Dunford J. Cardiac monitoring of subjects
exposed to the Taser: Acad Emerg Med 2005;12(5):71.

101. Davis DP, Buono C, Serrano J, Vilke GM, Sise MJ, Hoyt DB. The impact of hyper- and

hypoventilation on outcome in traumatic brain injury. Acad Emerg Med 2005;12(5):138-139.

Case 3:06-cv-00108 Document 348-1 FikSd 11/30/08 Page 65 of 76 PagelD #: 10926

 
Curriculuin Vitae
Gary M. Vilke, M.D., FACEP, FAAEM

PUBLICATIONS, continued:

 

Abstracts

102.

103.

104.

105.

106.

107.

108.

109.

110.

111.

112.

113,

Davis D, Buono C, Ramanujam P, Fisher R, Vilke GM, Chan TC, Metz M, Dunford J:
The potential safety of designated cardiac arrest receiving facilities. Ann Emerg Med
2005;46(3):S17.

Chan TC, Killeen JP, Kelly DL, Vilke GM, Guss DA: Accelerated care at triage: Physician-
directed ancillary testing at triage for patients waiting in an emergency department. Ann
Emerg Med 2005;46(3):S107-Si08.

Lev R, Vilke G, Dunford J: San Diego Regional STEMI Summit. San Diego Physician,
200534:11-13.

Davis D, Reynoso J, Harley J, Kanegaye J, Buono C, Vilke G: The natural history of
pediatric patients mecting criteria for paramedic intraosseous catheter insertion, Prehosp
Emerg Care 2006;10(1):110.

Davis D, Ramanujam P, Buono C, Vilke G: The sensitivity of capnometry to detect
endotracheal intubation: Where should we draw the line? Prehosp Emerg Care 2006;
101):118.

Levine $, Sloane C, Chan T, Dunford J, Vilke G: Cardiac monitoring of subjects exposed to
the Taser. Prehosp Emerg Care 2006;10(1):130.

Levine SD, Sloane C, Chan TC, Vilke GM, Dunford J: Cardiac monitoring-of human
subjects exposed to the taser. Acad Emerg Med 2006;13(5 Supp 1):847,

Vilke GM, Dolkas L, Stanley C, Smith AM, Chan TC: Evaluation of deaths associated with
choking. Acad Emerg Med 2006;13(5 Supp 1):549.

Chan TC, Vilke GM, Michalewicz BA, Neuman T, Levy 8, Kolkhorst I’: Does physical
restraint impact metabolic oxygen consumption during exertion? Acad Emerg Med 2006;
13(5 Supp 1):846,

Castillo EM, Vilke GM, Sturgis KN, Chan TC, Lindsay SP, Dunford JV: Decrease of health
care service utilization among chronic public inebriates. Acad Emerg Med 2006;13
(5 Supp 1):5105-106,

Vilke G, Johnson W, Castillo EM, Ederhecimer JA, Wexler C, Sloane CM, Chan TC:
Evaluation of in-custody deaths proximal to use of conductive energy devices. Ann Emerg
Med 2006;48(4 Supp 1):523-824.

Tornabene SV, Chan TC, Davis DP, Deutsch R, Vilke GM: Evaluating the use and timing of
opioids for the treatment of migraine headaches in the ED, Ann Emerg Med 2006;48
(4 Supp 1):859-S60.

Case 3:06-cv-00108 Document 348-1 Fiféd 11/30/08 Page 66 of 76 PagelID #: 10927

 
Curriculum Vitae
Gary M. Vilke, M.D., FACEP, FAAEM

PUBLICATIONS, continued:

 

Abstracts

114.

115.

116.

117.

118.

119.

120.

121,

122,

123,

124.

Davis D, Salazar A, Vilke G, Chan T: The utility of a novel decision rule to diagnose spidal
epidural abscess in ED patients with back pain. Ann Emerg Med 2006;48(4 Supp 1):866,

Killeen JP, Chan TC, Vilke GM, Buono C, Griswold W, Rao R, Lenert L: Wireless
computerized rapid triage in the field: How well does technology perform during mass
casualty incidents and disaster events? Ann Emerg Med 2006;48(4 Supp 1):S69.

Vilke GM, Castillo EM, Stepanski BM, Murrin PA, Upledger-Ray L, Metz MA, Chan TC:
San Diego County patient destination trial to decrease ambulance division hours: Three year
follow-up, Ann Emerg Med 2006;48(4 Supp 1):890.

Graydon C, Wilson S, Leahy D, Berthiaume S, Buesch B, Stein R, Vilke G, Davis D;
The positive predictive value of paramedic versus emergency physician interpretation of the
prehospital 12-lead ECG. Prehosp Emerg Care 2006;10(1): 116.

Ramanujam P, Stepanski B, Smith A, Upledger-Ray L, Vilke GM. Impact of'a state booster
seat law on compliance in pediatric traffic crash victims. Ann Emerg Med 2006; 48(4 Supp
1):S56.

Michalewicz BA, Chan TC, Vilke GM, Levy SS, Neuman TS, Kolkhorst FW. Ventilatory
and metabolic demands during aggressive physical restraint in healthy adults. Med Sci
Sports Exere 2006;38(5) Suppl:S452-5453.

Chan T, Sloane C, Neuman T, Levine S, Castillo E, Vilke G, Bouton K, Kohokorst F. The
impact of the taser weapon on respiratory and ventilatory function in human subjects. Acad
Emerg Med 2007; 14(5 Suppl 1): 8191-192,

Buono C, Lyon J, Huang R, Brown 8, Liu F, Vilke G, Killeen J, Chan T, Kirsh D, Lenert L.
Does wireless technology improve patient tracking in mass casualty incidents? Acad Emerg
Med 2007; 14(5 Suppl 1): $190.

Vilke G, Sloane C, Levine 8, Neuman T, Castillo E, Chan T. Does the Taser Cause
Electrical Changes in Twelve Lead ECG Monitoring of Human Subjects? Acad Emerg Med
2007; 14(5 Suppl 1): $104.

Vilke G, Sloane C, Bouton K, Levine 5, Neuman T, Castillo E, Kolkhorst F, Chan T.
Cardiovascular and metabolic effects of the taser on human subjects. Acad Emerg Med
2007; 14(5 Suppl 1): $104-105.

Sloane C, Vilke G, Chan T, Levine $8, Dunford J. Serum troponin | measurement of subjects
exposed to the taser x-26, Acad Emerg Med 2007; 14(5 Suppl 1): 5103-104.

Case 3:06-cv-00108 Document 348-1 Filét11/30/08 Page 67 of 76 PagelD #: 10928

 
Curriculum Vitae
Gary M. Vilke, M.D., FACEP, FAAEM

PUBLICATIONS, continued:

Abstracts

125,

126.

127,

128.

129,

130.

131.

132.

133,

Bouton KD, Vilke GM, Chan TC, Sloane C, Levine $8, Neuman TS, Levy SS, Kolkhorst FW.
Physiological effects of a five second Taser exposure. Med Sci Sports Exerc 2007;39(5
Suppl):$323.,

Firestone D, Band RA, Hollander JE, Castillo EM, Vilke GM. Can Urine Dipstick and Brief
Questionnaire Predict Abnormal Serum Creatinine in Emergency Department Patients? Ann
Emerg Med 2007; 50(3):824.

Vilke GM, Sloane C, Suffecool AC, Neuman TS, Castillo EM, Kolkhorst FW, Chan TC.
Physiologic Effects of the TASER on Human Subjects Afler Exercise. Ann Emerg Med
2007; 50(3):S55.

Chan TC, Killeen JP, Castillo EM, Vilke GM, Guss DA, Impact of Electronic Medication
Reconciliation on Triage Times for Patients Seen in the Emergency Department. Ann Emerg
Med 2007; 50(3):871.

Marsan Jr RJ, Vilke GM, Chan TC, Davis DP, Stepanski BM. Description and Efficacy of
Treatment of Hemodynamically Significant Bradycardia in a Large, Urban, Pacing-capable
EMS System. Ann Emerg Med 2007; 50(3):580.

Chan TC, Killeen JP, Castillo EM, Vilke GM, Kennedy S, FeinbergR, Guss DA. Impact of
an internet based referral appointment system community clinic access and follow-up for ED
patients with no primary care. Acad Emerg Med 2008; 15(5 Suppl 1): $104.

Vilke GM, Sloane CM, Suffecool A, Neuman T, Castillo EM, Kolkhorst F, Chan TC.
Crossover-controlled human study of the physiologic effects of the Taser after vigorous
exercise. Acad Emerg Med 2008; 15(5 Suppl 1): $155,

Vilke GM, Chan TC, Killeen JP, Castillo EM. Impact of psychiatric patient holds in the
emergency department on overcrowding. Acad Emerg Med 2008; 15(5 Suppl 1): $221.

Barnard AC, Sloane C, Vilke GM, Chan TC, Neuman TS, Kolkhorst FW. Physiological
effects of TASER X-26 after intense exercise. Med and Sci in Sports and Exercise 2008;
40(Suppl 5): $475.

Case 3:06-cv-00108 Document 348-1 Fié%-11/30/08 Page 68 of 76 PagelD #: 10929

 
Curriculum Vilae
Gary M, Vilke, M.D., FACEP, FAAEM

ORAL PRESENTATIONS AT NATIONAL MEETINGS:

1.

10.

11,

Chan TC, Buchanan J, Anderson M, Vilke GM: Patient ethnicity and age in prehospital
emergency ambulance use and acuity rates. NAEMSP Mid-Year Meeting, Lake Tahoe,
Nevada; July 1998.

Vilke GM, Dunford JV, Buchanan J, Chan TC: Are opiate overdose deaths related to patient
release after naloxone? ACEP Research Forum, San Diego, California; October 1998,

Gerling MC, Hamilton RS, Davis DP, Morris GF, Vilke GM, Hayden SR: The effects of
cervical spine immobilization on technique and laryngoscope blade seiection on an unstable

cervical spine injury in a cadaver model of intubation. ACIP Research Forum, San Diego,
California; October 1998.

Vilke GM, Chan TC, Ray LU, Anderson ME: Use of prehospital crash injury data to assess
regional automobile safety restraint use. NAEMSP Annual Meeting, Marcos Island, Florida;

January 1999,

Chew GS, Chan TC, Bramwell K, Davis DP, Vilke GM: Does gastric distention from air

_ insufflation affect the accuracy of the syringe esophageal detector device in detecting

esophageal intubation? SAEM Western Regional Research Forum, Redondo Beach,
California; March 1999,

Davis DP, Kimbro T, Vilke GM: The use of midazolam for prehospital rapid-sequence
intubation may be associated with a dose-related increase in hypotension. NAEMSP Annual
Meeting, Dana Point, California; January 2000.

Marino AT, Sharieff G, Gerhart AE, Chan TC, Vilke GM: The efficacy and complication rate
of prehospital midazolam for the treatment of pediatric seizures. NAEMSP Annual Meeting,
Dana Point, California; January 2000.

Eisele JW, Chan T, Vilke G, Neuman T, Clausen J: Effect of weight placed on the back of
subjects in the hobble restraint position. American Academy of Forensic Sciences Annual
Mecting, Reno, Nevada; February 2000.

Chan TC, Vilke GM, Neuman TS, Clark RF, Clausen JL: The effect of oleoresin capsicum
spray inhalation on pulmonary and respiratory function. SAEM Western Regional Research
Forum, Portland, Oregon; April 2000.

Vilke GM, Chan TC, Seltzer A, Fisher R, Dunford JV: Outcome of out-of-hospital refusal
of paramedic transport by parents of pediatric patients. State of California EMS Authority
EMS for Children Annual Conference, San Diego, California; November 2000,

Deitch S, Vilke GM, Marino A, Vroman D, Chan TC: Effect of prehospital use of
nitroglycerine on EKG findings in patients with chest pain. American Academy of
Emergency Medicine Annual Conference, Orlando, Florida; March 2001,

Case 3:06-cv-00108 Document 348-1 Fikft 11/30/08 Page 69 of 76 PagelD #: 10930

 
Curriculum Vitae
Gary M. Vilke, M.D., FACEP, FAAEM

ORAL PRESENTATIONS AT NATIONAL MEETINGS, continued;

12.

13.

14,

15.

16.

17.

18,

19.

20.

21,

22,

Vilke GM, Steen PJ, Smith AM, Chan TC: Pediatric intubation by paramedics: The San Diego
County experience. SAEM Western Regional Research Forum, Irvine, California; March 2001,

Davis DP, Ochs M, Hoyt DB, Dunford JV, Vilke GM: The use of the Combitube as a salvage
airway device for paramedic RSY. SAEM Western Regional Research Forum, Irvine,
California; March 2001.

Chan TC, Dunford JV, Vilke GM: Impact of a community multidisciplinary homeless
outreach team, SAEM Annual Mecting, Atlanta, Georgia; May 2001.

Chan TC, Dunford JV, Vilke GM: Impact of a community multidisciplinary homeless
outreach team. CAL/ACEP Scientific Assembly, Santa Clara, California; June 2001,
(Won Award for Best Oral Presentation)

Valentine C, Davis D, Ochs M, Hoyt D, Bailey D, Vilke G: The use of the Combitube as a
salvage airway device for paramedic rapid sequence induction. NAEMSP Annual Meeting,
Tucson, Arizona; January 2002.

Vilke GM, Lev R, Castillo EM, Metz MA, Murrin PA, Chan TC: Prospective countywide
trial to decrease ambulance diversion hours. SAEM Western Regional Mecting, Scottsdale,
Arizona; April 2003.

Vilke GM, Lev R, Castillo EM, Murrin PA, Chan TC: Prospective countywide trial to
decrease ambulance diversion hours. SAEM Annual Meeting, Boston, Massachusetts,
May 2003.

Vilke GM, Lev R, Castillo EM, Metz MA, Murrin PA, Chan TC: San Diego County
improved patient destination trial to decrease emergency department diversion hours and
diverted patients. American College of Emergency Physicians Research Forum, Boston,
Massachusetts; October 2003.

Vilke G, Castillo E, Metz M, Murrin P, Ray LU, Lev R, Chan T: Community trial to decrease
ambulance diversion of patients and hours. NAEMSP National Conference, Tucson, Arizona,
January 2004.

Marcelyn Metz, Patricia Murrin, Gary M. Vilke: The three-phase EMS cardiac arrest model
for ventricular fibrillation. ENA Annual Mecting; San Diego, California; October 2004.

Michalewiez, BA, TC Chan, GM Vilke, SS Levy, TS Neuman, and FW Kolkhorst:
Ventilatory and metabolic demands during aggressive physical restraint in healthy adults.
American College of Sports Medicine Annual Meeting, Denver, CO; June 2006, [Medicine
and Science in Sports and Exercise 38(5 Supplement), 2006].

Case 3:06-cv-00108 Document 348-1 Filé0-11/30/08 Page 70 of 76 PagelD #: 10931

 
Curriculum Vitae
Gary M. Vilke, M.D., FACEP, FAAEM

SELECTED SPEAKING ENGAGEMENTS:

1,

10,

11,

12.

13,

14.

15.

“Death of a Child: How to Treat the Survivors” -- Grand Rounds, Department of Emergency
Medicine, UCSD Medical Center; April 1996.

“Assessing GCS and the Field Neurologic Exam” -- Palomar College Paramedic Training;
June 1998.

“Prehospital Shock”; “Management of the Ficld Trauma Patient” -- Mercy Air, Ventura
County Lecture Series; August 1998.

“ER: Not Just a Television Show, But a Ficld of Research” -- Howard Hughes Foundation
Lecture Series, University of California, San Diego; November 1998,

“Multi-Casually Incident” -- UCSD Medical Center Trauma Conference; March 1999,

“Managing the Prehospital Multi-Casualty Incident” -- Southwestern College Paramedic
Training Institute; May 1999.

“Aeromedical Transport: The Past and Current Environment” -- Trauma Morbidity and
Mortality Conference, Children’s Hospital, San Diego, California; July 1999,

“Altitude Medicine”; “Carbon Monoxide Poisoning and Treatment Options”; “Aeromedical
Transport Options”; “Emergent Airway Management Options” -- Rural Emergency Medicine
Conference, Jackson Hole, Wyoming; August 1999,

“Abdominal and Chest Trauma in Sports” -- First Annual San Diego County Athletic Coaches
Workshop, San Diego, California; June 2000.

“Tabletop Discussion on Chemical Weapon of Mass Destruction” -- Facilitator of Tabletop
Training for San Diego County Metropolitan Medical Strike Team; July 2000.

“Pediatric [V Access”; “Spinal Immobilization”; “Children with Special Health Care Needs”;
“Cardiovascular Emergencies” -- American Academy of Pediatrics Pediatric Education for
Prehospital Professionals Conference, San Diego, California; November 2000.

“New Frontiers in Field Management of Pediatric Status Epilepticus” -- State of California
EMS Authority Annual EMS for Children Conference, San Diego, California; November 2000.

“EMS Medical Control: Avoiding your Day in Court” -- ACEP’s Emergency Medicine
Connection Conference, San Diego, California; March 2001.

“Pediatric Intubations by Paramedics” -- San Diego Chapter of the Committee on Pediatric
Emergency Medicine; April 2001,

“Warfare and Terrorism: A Review of Chemical Agents -- San Dicgo County Metropolitan
Medical Strike Team Training; August 2001.

Case 3:06-cv-00108 Document 348-1 Filetr11/30/08 Page 71 of 76 PagelD #: 10932

 
Curriculum Vitae
Gary M. Vilke, M.D., FACEP, FAAEM

SELECTED SPEAKING ENGAGEMENTS, continued:

16.

17.

18.

19.

20.

21,

22.

23.

24,

25.

26,

2.

28.

29.

30,

32.

“Bioterrorism and San Diego County” -- Council of Community Clinics Meeting;
October 2001.

“Bioterrorism and San Diego County Readiness” -- CTN interview with Bill Horn;
October 2001.

“Future of Prehospital Care” -- Keynote Speaker, Southwestern Paramedic College
Graduation; November 2001.

“Biological Agents for Terrorism” -- San Dicgo County Metropolitan Medical Strike Team
Training; November 2001.

“Clinical Aspects of Bioterrorist Agents” -- Palomar Paramedic College; November 2001.
“Clinical Aspects of Bioterrorism” -- Grand Rounds, Fallbrook Hospital; January 2002.
“Bioterrorism and San Diego County Readiness” -- Poway Town Hall Meeting; January 2002.
“Bioterrorist Preparedness” -- National Medical Association, San Diego County; January 2002.

“Chemical Agents of Terrorism: Diagnosis and Treatment” -- Topics and Advances in
Internal Medicine, San Diego, California; March 2002. ‘

“Bioterrorism: Implications for the Legal and Domestic Community” -- Thomas Jefferson
School of Law, San Diego, California; April 2002.

“Prehospital Management of Pediatric Seizures” -- EMS-Children Annual Conference;
San Diego, California; November 2002.

“Paramedicine — Past, Present and Future” -- Keynote Speaker, Southwestern Paramedic
College Graduation; San Diego, California; December 2002.

“Medical Group Preparedness: Tow would you Respond to a Possible Victim of
Bioterrorism?” -- Bioterrorism Preparedness Training Conference; San Diego California;
January 2003.

“Update on Bioterrorism” -- The Western States Winter Conference on Emergency Medicine;
Park City, Utah; January 2003.

“Academic Emergency Medicine and Research Opportunities” -- San Diego Health
Information Association, San Diego, California; February 11, 2003.

“Blast and Radiological Injuries: Myths and Realities” -- San Diego County Metropolitan
Medical Strike Team Training; San Diego, California; August 2003.

Case 3:06-cv-00108 Document 348-1 Filétr11/30/08 Page 72 of 76 PagelD #: 10933

 
Curriculum Vitae
Gary M. Vilke, M.D., FACEP, FAAEM

SELECTED SPEAKING ENGAGEMENTS, continued:

33.

34,

35,

36,

36.

37.

38.

39,

40,

41,

42,

43,

44,

45.

46,

“Clinical Aspects of Bioterroism” -- American Correctional Health Services Association,
California and Nevada Chapter Annual Conference, San Diego, California; September 2003.

“Bioterrorism” -- UCSD/SDSU General Preventive Medicine Residency Lecture Series,
La Jolla, California; October 2003.

“Prehospital Pediatric Airway Obstruction” — Children’s Hospital Grand Rounds, San Diego,
California; July 2004.

“Future of Healthcare in San Diego: Trends Impacting our Delivery System” -- San Diego
Organization of Healthcare Leaders, San Diego, California; August 2004,

“Firestorm 2003” -- Children’s Hospital Grand Rounds, San Diego, California; January 2004,

“EMS research: Unique ethical and regulatory issues” -- Applied Research Ethics National
Association Annual mecting, San Diego, California; October 2004.

“What happens when you call 911?” -- San Diego Sports Medicine Foundation, San Diego,
California; October 2004.

“Making the Metropolitan Medical Response System Work for You" -- Emergency Response
2004 Conference, San Diego, California; November 2004.

“San Diego County Emergency Department Ambulance Bypass - Past, Present, Future” --
Urgent Matters Briefing, San Diego, California; November 2004.

“San Diego County Emergency Department Ambulance Bypass - Past, Present, and Future” --
San Diego Community Emergency Departments, San Diego, California; December 2, 2004.

“Emergency Response Management for Efficiency of Care and Fiscal Consideration” --
American Correctional Health Services Association, Oakland, California; April 2, 2005.

“Conducted Energy Devices — Medical Updates and Issues” -- Police Executive Research
Forum, Houston, Texas; October 18, 2005.

“Conducted Energy Devices Proximity Deaths and Medical Response” -- 2005 Critical
Issues in Policing Series, Police Executive Research Forum, San Diego, California;
December 8, 2005,

“Conductive Electrical Devices (Tasers®) and Patients with Excited Delirium for Law
Enforcement and Emergency Medical Personnel” -- The U.S. Metropolitan Municipalities
EMS Medical Directors Annual Meeting, Dallas, Texas; February 16, 2006.

“Tasers and Sudden Death” -- Keynote speaker at One Day Symposium on In-Custody Deaths
by the Florida Sheriffs Association, Orlando, Florida; June 1, 2006.

Case 3:06-cv-00108 Document 348-1 Fil@d 11/30/08 Page 73 of 76 PagelD #: 10934

 
Curriculum Vitac
Gary M., Vilke, M.D., FACEP, FAAEM

SELECTED SPEAKING ENGAGEMENTS, continued:

47.

48.

49.

50.

51,

52.

53.

54.

55.

56.

57.

58.

59

“Medical Aspects of the Use of Force Continuum” -- Department of Justice Community
Oriented Policing Services (COPS) Conference, Washington, DC; July 29, 2006,

“Resuscitation Outcomes Consortium” -- 7th Annual University of California Neurotrauma
Meeting, Carmel, California; August 3, 2006,

“Use of Force: Sudden Death Myths and Excited Delirium” -- The Commission of
Accreditation for Law Enforcement Agencies (CALEA) Less Lethal Technology Working
Group Mecting, Washington, DC; September 10, 2006.

“Police In-Custody Deaths and the Taser Controversy” -- UCSD/SDSU General Preventive
Medicine Residency Lecture Series, La Jolla, California; September 2006.

“Conductive Energy Devices: The medical aspects of Taser Electronic Control Devices
(ECDs) and other Energy Devices” — Sudden Death, Excited Delirium and In-Custody Death
Conference by the Institute for the Prevention of In-Custody Deaths, Inc, Las Vegas, Nevada;
November 16-17, 2006.

“Cardiac, Respiratory and Metabolic Effects of EMD” — Study of Deaths Following Electro
Muscular Disruption, Meeting of the Chief Medical Panel for the National Institute of Justice.
Washington D.C.; January 9, 2007.

“The Medical Implications of Tasers and the Impact on EMS ” - National Association of
EMS Physicians National Conference. Naples, FL; January 12, 2007.

“Excited Delirium” - Solutions For Corrections Seminar for the California State Sheriff's
Association. Ontario, CA; February 7, 2007,

“Excited delirium, positional asphyxia and restraint” -- EMS Today Conference, Baltimore,
Maryland; March 10, 2007.

“Medical implications of Tasers and other Conductive Energy Devices” -- EMS Today
Conference, Baltimore, Maryland; March 10, 2007.

“Excited Delirium” -- American Correctional Health Services Association, Oakland,
California; September 19, 2007.

“Human Physiologic Effects of Tasers” — Study of Deaths Following Eicctro Muscular
Disruption, Mecting of the Chicf Medical Panel for the National Institute of Justice.
Washington D.C.; September 27, 2007,

. “The clinical impacts of TASER and other Conductive Energy Devices on Humans: A Review

of the latest Medical Research” — Sudden Death, Excited Delirium and In-Custody Death
Conference by the Institute for the Prevention of In-Custody Deaths, Inc, Las Vegas, Nevada;
November 28-30, 2007.

Case 3:06-cv-00108 Document 348-1 Fiféc 11/30/08 Page 74 of 76 PagelD #: 10935

 
Curriculum Vitae
Gary M, Vilke, M.D., FACEP, FAAEM

SELECTED SPEAKING ENGAGEMENTS, continued:

60. “Physiological Effects of Tasers” — The City Council of Miami-Dade. Miami, Florida; January
17, 2008.

61. “Excited Delirium: What is it? Why docs it kill? What do we need to know about it? Western
States Winter Conference on Emergency Medicine. Park City, Utah, February 8, 2008.

62. “Medical Effects of Tasers” —- The City Council of Houston. Houston, Texas; March 10, 2008.

63, “Less Lethal Weapons” - Emergency Nurses Association, San Diego Chapter. San Dicgo,
California; April 18, 2008.

Case 3:06-cv-00108 Document 348-1 Filé411/30/08 Page 75 of 76 PagelD #: 10936

 
Gary Michael Vilke, MD, FACEP, FAAEM
11279 Breckenridge Way .
San Diego, California 92131
(858) 653-5292

SSH218-96-9428

FEE SCHEDULE
For review, research, report writing and discussion of case materials: 450.00/ hour
A retainer of up to 3 hours may be requested in advance.

For deposition and trial testimony: 500.00/hour
Deposition and trial testimony will be billed at a half day (4 hour) minimum.
Deposition preparation time will be billed at the standard 450.00/hour rate.

TRAVEL
If travel out of county (defined as more than 100 miles) for deposition or trial is required:

Business class airline tickets to and from to be arranged and paid for by the
requesting firm/agency.

Hotel accommodations to be arranged and paid for by the requesting firm/agency.

‘Transportation to and from the airport in the host city will be arranged and be paid
for by the requesting firm/agency.

Time for travel will be billed at the standard review rate up to 4 hours each direction. The
time starts at departure from home until arrival in host city, and from departure from host
city until arrival home.

If travel is within the county (defined as less than 100 miles) for deposition or trial is
required.

Time for travel will be billed at the standard review rate up to 2 hours each direction. The
time starts at departure from home until arrival at the depo/trial site, and from departure

until arrival home,

If an additional day (non-travel, non-trial or deposition) is required out of town, billing
will be for 4 hours at the standard review rate for that day.

Case 3:06-cv-00108 Document 348-1 Filed 11/30/08 Page 76 of 76 PagelID #: 10937

 
